      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 1 of 156




097
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 2 of 156




                           EXHIBIT 11




168
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 3 of 156




  Can standard setting organizations address patent hold­up? Comments for the
                                    Federal Trade Commission


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  Standard setting organizations (SSOs) are forums where firms negotiate over shared
  design parameters so their products can work well together. This process produces
  many benefits: users may share information, or “mix and match” components; the
  cost of market entry declines; and there is a division of labor, enabling specialization
  in component production and innovation. While inter‐operability can be achieved in
  other ways, such as decentralized technology adoption or the actions of a dominant
  firm, SSOs are perhaps the most common path to compatibility.1


  Antitrust authorities have generally viewed SSOs as a form of pro‐competitive
  horizontal cooperation. For example, the United States’ Standards Development
  Organization Advancement Act of 2004 (H.R. 1086) provides that SSOs are
  evaluated under an antitrust rule of reason, and are subject to actual rather than
  treble damages. However, there is concern among academics, policy‐makers and
  practitioners that patent‐holders can exploit the cooperative standard setting
  process to extract excessive royalties from standards implementers.


  When a patent is necessarily infringed by compliant implementations of an industry
  standard, it is called “essential.” Essential patents can be very valuable, since a
  successful standard reduces competition from substitute technologies. Thus, while
  SSOs may have good reasons to include patented technology in an industry
  standard, doing so places essential patent owners in a very strong bargaining
  position if the standard succeeds. This is a special case of what economists call the
  “hold up” problem.

  1
   Biddle, White and Woods (2010) identified over 500 compatibility standards used in a prototypical laptop
  computer and found that 80 percent were developed by consortia and formal standards developing
  organizations. See Farrell and Simcoe (2011) for one discussion comparing alternative paths to
  compatibility.


                                                                                                         1
169
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 4 of 156




  Patent hold‐up problems could be solved by disclosing patents and negotiating
  prices before choosing a standard. But uncertainty over the existence, validity and
  scope of potentially essential patents makes it difficult to negotiate a license prior to
  implementation. As an alternative, many SSOs ask patent‐holders to commit to
  reasonable and non‐discriminatory (RAND) licensing terms. However, many
  observers worry that it is not clear how firms or courts are meant to interpret this
  promise.


  Proponents of the current system argue that SSOs should focus on technical issues;
  intellectual property owners should be compensated for the costs and risks of
  technology development; and that prospective licensees can avoid the hold‐up
  problem by taking a RAND license or proposing an alternative technology within the
  SSO. These are valid points, but there is a counter‐argument to each. Technical
  decisions should always be weighed against the likely costs of implementation,
  which include licensing. As described in the FTC’s report on “The Evolving IP
  Marketplace” (FTC 2011), overcompensating patent owners has real social costs.
  And it is unclear whether the patent system or the disclosure rules adopted by many
  SSOs provide sufficient notice for prospective standards implementers to engage in
  ex ante negotiation.


  This short essay argues that patent hold‐up in standard setting is a real problem,
  and considers several steps that SSOs, courts and policy‐makers might take to
  address the issue.


  Standard setting and patent hold­up
  Standard setting organizations serve as a forum where industry participants
  perform collaborative research and discuss the merits of alternative technologies.
  The goal is to identify the best available solution to a given technical problem when
  there are gains from coordinating on a common design. Ultimately, SSOs choose a
  particular technology and issue a formal endorsement. This certification is meant to


                                                                                          2
170
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 5 of 156




  signal the end of deliberations and promote industry‐wide investments in the new
  technology.2


  Difficulties arise when investments in a new standard are sunk (i.e. irreversible or
  technology‐specific), leading to what economists call a “hold‐up” problem.3 Sunk
  investments make a technology cheaper to deploy (on a forward‐looking basis) than
  alternative solutions that offered a potential substitute before standardization.
  Thus, when the technology in a standard is patented, the intellectual‐property
  holder can charge royalties up to the difference in implementation costs before
  vendors will switch – even when the ex ante cost structure of two technologies was
  identical.4 In other words, a patent that is worthless prior to standardization (given
  the existence of a perfect substitute) may become quite valuable if SSO endorsement
  leads to substantial technology‐specific investments.5


  In principle, producers that recognize the possibility of hold‐up could protect
  themselves by conducting a comprehensive patent search and securing the
  necessary licenses before implementing a new standard. But firms in the
  information and communications technology (ICT) sector rarely do this given the
  large search and transactions costs associated with up‐front licensing. Just finding
  the relevant patents can be hard, since a modern laptop or smart‐phone will
  implement hundreds of standards and infringe thousands of patents. Assuming
  firms can locate all of these patents, they might reasonably hesitate to sign licenses
  when there is uncertainty over each patent’s scope and validity (FTC 2011). Finally,
  even if all relevant patents could be located and their scope and validity accurately

  2
    David and Greenstein (1990) and Shapiro and Varian (1998) describe the economic and business strategy
  issues associated with the formal standards process. Rysman and Simcoe (2008) provide some empirical
  evidence that SSO endorsements have an impact on the value of the underlying technology.
  3
    Williamson (1985) introduced the hold-up problem, which he called the “fundamental transformation.”
  Farrell et al (2004) provide a detailed discussion of hold-up problems in this context.
  4
    While policy debates often focus on “technically essential” patents, it is worth noting that the hold-up
  problem can also apply to so-called “commercially essential” patents, which are complementary to a
  standard, but not an inherent part of the specification.
  5
    Of course, this argument depends critically on the assumption that the patent is valid and enforceable.
  However, the threat of injunction may provide even “weak” patent owners with a very large stick in the
  bargaining process.


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171
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 6 of 156




  assessed, transaction cost considerations lead many ICT firms to prefer a broad
  company‐wide cross license over a narrow license covering just those patents
  needed to implement a particular standard.


  Given the large search and transaction costs in markets for intellectual property, ICT
  firms often design, build and market their products before trying to clear all of the
  relevant property rights, even thought this exposes them to hold‐up by patent
  owners. A few large firms negotiate up‐front cross‐licenses, but even these
  companies may find themselves locked into a counterparty’s proprietary technology
  when those agreements are renegotiated.6


  While inefficient markets for intellectual property are a general problem, hold‐up
  problems are especially severe when firms hold patents in industry standards. Once
  a standard has been selected, SSOs work hard to promote coordinated investments
  by a broad community of implementers, and these investments are often very costly
  to reverse. Thus, a widely diffused standard provides a large pool of potential
  licensors, reduces competition from substitute technologies and makes
  infringement easy to detect. Simcoe, Graham and Feldman (2009) provide some
  evidence on this point. Their study found that patents declared to SSOs were 4 to 7
  times more likely to be litigated than a typical patent with the same age and
  technology class. These high litigation rates do not imply widespread imply hold‐up,
  but are a strong indication that the market for standards‐related intellectual
  property is not functioning well.


  Looking forward, there are several reasons to worry that conflicts over standards‐
  related IP will increase and intensify. First, the secondary market for patents
  appears to be growing, with increased demand coming from patent‐assertion
  entities (PAEs) whose main business is to acquire and assert patents. For example,

  6
   See Grindley and Teece (1997) for a discussion of broad cross-licensing practices. One example of a
  cross-license containing essential patents that fell apart at renegotiation is the deal between Motorola and
  Research in Motion (see Motorola, Inc vs. Research in Motion, Ltd et al., U.S District Court Northern
  District of Texas, 3:08-CV-0317-G).


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172
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 7 of 156




  after negotiations between Nokia and Robert Bosch GmbH failed, Bosch sold several
  standards‐related patents to a PAE called IPCom, who successfully asserted those
  patents in German courts. There is also a broad shift towards “open innovation”
  business models, where firms commercialize technology through out‐licensing as
  opposed to manufacturing. Firms like Qualcomm, who develop new technology that
  becomes central to an industry standard, can earn substantial royalties from
  licensing their standards‐related IP. The study by Simcoe, Graham and Feldman
  (2009) shows that when small firms (who appear to be a mix of PAEs and
  specialized technology developers) declare essential patents to an SSO, the
  probability of subsequent litigation increases significantly compared to essential
  patents declared by larger firms, who are more likely to be manufacturers.


  Another cause for concern is the increasing importance of inter‐operability, and
  particularly the push for standards to support the deployment of electronic health
  records and a “smart” electricity grid. New standards are clearly needed to
  coordinate the efforts of diverse vendors in responding to these potentially large
  market opportunities. However, given the highly inelastic consumer demand for
  health and energy services, it is not clear that intermediaries like hospitals or public
  utilities have the ability or incentive to be an active SSO participant or engage in
  protracted fights with sophisticated patent litigators if they can simply pass royalty
  costs on to consumers.


  Private solutions
  Most SSOs take steps to mitigate the patent hold‐up problem, typically by adopting
  intellectual property policies that impose certain obligations on members’ behavior
  during and after the standard setting process. Lemley (2002) surveyed these
  policies at a number of SSOs. Here, I discuses a few of their main features.


  Disclosure rules
  Many SSOs have rules that require members participating in technical deliberations
  to disclose relevant patents or pending patent applications. For instance, the patent


                                                                                           5
173
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 8 of 156




  policy guidelines endorsed by the American National Standards Institute (ANSI
  2011) encourage SSOs to adopt “procedures whereby one or more requests are
  made to participants for the disclosure of patents that may be required for use of
  standards in process.” Many SSOs also maintain a public repository of patent
  disclosures or letters of assurance, which can be searched by prospective
  implementers who wish to seek a license before committing to the standard.


  In principle, disclosure allows SSO participants to evaluate trade‐offs between
  technical quality and the expected cost of implementation. In practice, there are
  several reasons why the disclosure process may not work well. One problem is that
  disclosure rules rarely require firms to search for or disclose specific pieces of IP. As
  a consequence, many firms issue “generic” or “blanket” disclosures indicating that
  they hold essential patents, but without providing any publication numbers. Clearly,
  these disclosures provide little guidance to standards developers who are trying to
  understand what parts of a specification are actually covered by patents, or whether
  those patents are valid and enforceable. Simcoe (2005) suggests that one third of all
  disclosures made to a group of nine SSOs provide no reference to specific IP, with
  much higher rates of blanket disclosure at certain SSOs.


  The logic of blanket disclosure is closely tied to the problem of patent notice. Given
  long pendency lags, and the widespread use of continuations and divisional
  applications to amend claims over time, it is often unclear whether a pending
  application will be essential at the time a standard is endorsed. The costs of locating
  essential patents can also be large for firms with sizable patent portfolios that
  participate in many SSOs. Of course, the switch to blanket disclosure does not
  actually reduce these search costs; it merely shifts them onto prospective
  implementers and other standards developers, who are arguably less informed.


  Simply mandating disclosure specificity will not necessarily solve the problem of
  poor notice under blanket disclosure policies, since large patent holders can adopt a
  highly inclusive approach, e.g. claiming that nearly all of their patents are potentially


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174
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 9 of 156




  essential. For example, ETSI requires explicit disclosure and sometimes gets
  thousands of declared essential patents for a single project. If only a few of these
  patents are truly essential, implementers and standards developers face essentially
  the same search and discovery problem as under a blanket policy.


  A second problem with SSOs’ disclosure rules is that they do not guarantee timely
  information provision. Standards committees may take several years to agree on a
  specification. During that time, as consensus begins to emerge on key design
  parameters, firms will often begin to commit design and marketing resources to the
  nascent specification. While SSOs encourage participants to disclose patents as early
  as possible, there is nothing to prevent an opportunistic patent‐holder from waiting
  until the last moment. At that point, if there is little chance that the standard will be
  redesigned, the patent‐holder has managed to put themselves in a position to hold‐
  up implementers without violating the letter of the SSOs disclosure policy.
  Moreover, to an outside observer, these opportunistic delays will often be
  indistinguishable from “late” disclosures caused by last‐minute changes to the
  standard that make a firm’s previously irrelevant IP essential. Efforts to define
  “timely” disclosure would likely encounter strong resistance, given the practical
  difficulties of distinguishing benign from opportunistic delays.


  While timing and specificity pose difficult problems for SSOs, disclosure policies
  remain a useful tool for their members. In particular, the disclosure process
  provides a place where firms can make unilateral licensing commitments (perhaps
  with an eye towards gaining acceptance of their technology). The disclosure process
  also provides a forum where patent‐holders can place prospective implementers on
  notice that they expect to be paid. Finally, when SSOs provide a public repository of
  disclosures or letters of assurance, it simplifies the process of matching future
  implementers to key intellectual property owners.


  Perhaps the best way to address the problems of disclosure timing and specificity
  would be through reforms to the underlying patent system. High quality patents


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175
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 10 of 156




  that issued more quickly, and whose evolving claims were easier to predict, would
  make it simpler for SSO participants to evaluate trade‐offs among solutions with
  different cost‐quality profiles on a forward‐looking basis.


  Licensing Commitments
  In addition to disclosure rules, many SSOs require participants to make
  commitments regarding the terms and conditions of any license they will offer for
  patents needed to implement a standard. A few SSOs ask for very specific licensing
  commitments. For instance, the World Wide Web Consortium (W3C) will only
  endorse technologies that can be implemented on a royalty‐free basis, and the HDMI
  Consortium asks implementers to sign an “Adopters Agreement” and pay an annual
  fee of $10,000 plus a royalty of $0.15 per unit sold.7 However, the most common
  policy is to require a commitment to license on “reasonable and non‐discriminatory”
  (RAND) or “fair reasonable and non‐discriminatory” (FRAND) terms.


  Whether because of antitrust fears, or concerns that they will upset certain
  members, SSOs typically shy away from providing an explicit definition of RAND,
  leaving the matter to individual firms, and ultimately courts. As a consequence,
  firms often treat this commitment as merely a promise to enter licensing
  negotiations. There is nothing to prevent patent‐holders from going beyond a RAND
  commitment, for instance by pledging to offer a royalty‐free license. But aside from
  unilateral commitments, it is not clear that a RAND promise places any restrictions
  on prospective prices or licensing terms, aside from a ban on exclusivity.8


  How then, should we interpret the RAND promise? Economists have suggested that
  a reasonable royalty will reflect the ex ante benefits of adopting a particular
  technology as the industry standard, but not the additional switching and
  7
    The W3C patent policy is published at http://www.w3.org/Consortium/Patent-Policy-20040205/ and the
  HDMI Adopters Agreement is published at http://www.hdmi.org/manufacturer/terms.aspx (both accessed
  July 8, 2011).
  8
    While there is considerable debate over the meaning of RAND, it is clear that firms cannot void their
  RAND pledge by selling the patent. See In the Matter of Negotiated Data Solutions LLC, FTC File No.
  0510094, for a discussion of efforts to circumvent SSO licensing commitments through patent sales.


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176
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 11 of 156




  coordination costs created by standard‐setting process and the technology‐specific
  investments it encourages (e.g. Swanson and Baumol 2005; Layne‐Farrar et al 2007;
  Farrell et al 2007). But these proposals rarely specify how one might calculate a
  reasonable price after investments are sunk, or in settings with significant network
  effects and complementarities among component technologies. As for non‐
  discrimination, firms clearly do not interpret this to mean uniform pricing for a
  stand‐alone license to essential patents. Perhaps non‐discrimination means that
  essential patent holders cannot offer an exclusive license? But if licensors are
  allowed to charge different rates to each licensee, and there is no cap on a
  reasonable price, it seems that licensors could offer de facto exclusivity, or at least
  substantial competitive advantage, without violating a FRAND commitment.


  One approach to the “reasonable” prong of the RAND commitment is to treat it as a
  promise to forgo lost profits as the approach to calculating damages in patent
  infringement litigation. In its place, courts would presumably set reasonable royalty
  damages based on a hypothetical negotiation between a willing licensor and willing
  licensee. The U.S Federal Trade Commission (FTC 2011) describes several
  difficulties with such an analysis, and suggests that courts may systematically
  overcompensate patent holders in applying the hypothetical negotiation framework.
  Here, I set aside the controversial question of excessive damages and highlight the
  economic importance of assuming that any hypothetical negotiation takes place
  before the selection and diffusion of the standard.


  First, as emphasized by the economists cited above, an ex ante negotiation will
  compensate licensors for the benefits created by selecting their technology as the
  standard, but not the switching and coordination costs caused by implementers’
  sunk investments. Second, in a hypothetical ex ante negotiation, there should be no
  presumption that the patents were known to be valid and infringed. Third, and
  perhaps most importantly, the existence of alternatives to the patented technology
  place an upper bound on a licensees’ willingness to pay. The last point is subtle in
  the standards context. It may be difficult to view technologies that look lousy ex post


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177
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 12 of 156




  as post as attractive ex ante substitutes, or to distinguish between a technology’s
  innate benefits and the cumulative effect of sustained investment by a broad
  community of implementers. Moreover, a hypothetical licensee’s ex ante willingness
  to pay will depend not only on the merits of the best available substitute (as in the
  case of a bilateral negotiation), but on the anticipated actions of other firms with
  respect to the nascent standard. Thus, courts may need to consider the price at
  which the substitute technology becomes a suitable choice for the pivotal SSO
  participant (i.e. the SSO member who casts the deciding vote) and not just the
  difference in ex ante willingness to pay of the defendant in a particular case. Despite
  these complexities, it is important to recognize that when there are close ex ante
  substitutes for a patented technology, a reasonable royalty may be very small.


  Assuming the “reasonable” prong of RAND does refer to the method of computing
  infringement damages, SSOs could take several steps to improve the likelihood that
  courts understand these points, and reach economically sound conclusions when
  calculating reasonable royalty damages. One such step would be to clarify the
  meaning of RAND by explicitly defining “reasonable” as the price reached through ex
  ante negotiation between a willing licensor and willing licensee. Another useful step
  would be to clearly document cases where there was a conscious choice between
  competing solutions, and providing some indication of how the relative merits of the
  different approaches were viewed at the time.


  Some observers take the view that RAND commitments not only commit patent
  holders to a particular damages rule, but also waive their right to seek injunctive
  relief against standards implements. For instance, Miller (2007) writes that, “by
  adopting a RAND policy… SSO participants… contract out of an injunction‐backed
  property rule into a reasonable‐royalty liability rule.” While this is an interesting
  proposal, patent holders might reasonably object that without the threat of
  injunction it is very difficult to bring an obstinate infringer to the negotiating table.
  The matter is ripe for clarification from SSOs. But regardless of the relationship
  between RAND and injunctive relief, proper application of the hypothetical


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178
       Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 13 of 156




  negotiation framework should not rely on “comparable” licenses that were
  negotiated in the shadow of an injunction, since that threat would not be available to
  the patent holder in an ex ante world where the essentiality, validity and
  infringement of the patent are unknown.


  While much has been written on the determination of reasonable royalties, the non‐
  discrimination prong of a RAND commitment has received relatively little attention.
  One interpretation of ND might be that licenses will be made available at a uniform
  price. But outside of royalty‐free licensing, it is hard to see how this would be
  practiced, since essential patents are often covered by broad cross‐licenses whose
  terms vary from one deal to the next. Another interpretation of non‐discrimination
  is that patentees may not adopt “divide and conquer” adoption‐forcing strategies,
  such as an escalating royalty rate that guarantees early licensees a decisive cost
  advantage over later ones. A final interpretation of the ND requirement is that it
  prohibits exclusive licensing, though this would be redundant if the reasonable
  prong of RAND implies a willing licensor. Perhaps ND simply assures an easily
  pronounced acronym.


  So far, courts have managed to avoid providing a clear interpretation of the RAND
  standard. The appeals court in Broadcom v. Qualcomm suggested that the fifteen
  Georgia Pacific factors provide a useful starting point.9 However, those guidelines
  have little to say about how one could determine a reasonable price in settings with
  hundreds or thousands of complementary patents per product, and where firms
  make substantial irreversible investments to bring products to market before
  entering into licensing negotiations. Moreover, as the FTC’s report on the evolving
  IP marketplace (FTC 2011) highlights, the Georgia Pacific factors are only a list of
  evidentiary categories, and not a coherent analytical framework that can be used to
  calculate a reasonable royalty. In my view, the current ambiguity surrounding RAND
  commitments contributes to the high litigation rate of declared essential patents,


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      See Broadcom Corp. v. Qualcomm, Inc., 501 F.3d 297; 2007.


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179
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 14 of 156




  making it reasonable for courts and policy‐makers to push SSOs for more clarity
  regarding this key dimension of their intellectual property policies.


  Ex Ante Negotiations
  One widely discussed alternative to RAND commitments is for patent‐owners to
  actually negotiate specific licensing terms – including prices – before irreversible
  investments and coordination on a particular solution make substitute technologies
  less attractive. This is essentially the mechanism proposed by Swanson and Baumol
  (2005), Layne‐Farrar et al (2007) and Farrell et al (2007) for determining a
  reasonable price.


  In principle (and perhaps in practice), firms may conduct bilateral ex ante license
  negotiations outside of an SSO (see Herman, 2010). But when the outcome of any
  bilateral negotiation is confidential, it provides no information to other
  implementers about the terms that a particular patent‐holder views as reasonable,
  and therefore induces less ex ante price competition between substitute
  technologies. For this reason, the recent policy discussion has focused on ex ante
  policies where patent holders publicly disclose a maximum royalty rate and set of
  most restrictive terms.


  The main appeal of ex ante disclosure policies is that they mimic the hypothetical
  negotiation between a willing licensor and willing licensee that might take place
  before a standard is adopted. In particular, in ex ante negotiations a rational licensor
  would be unwilling to pay an unreasonable price, i.e. a price that exceeds the
  difference in surplus between adopting a preferred technology and the next best
  alternative (which could be an existing or as‐yet undeveloped substitute or a
  decision to narrow the scope of the standard).


  However, ex ante disclosure policies also have some weaknesses. The first one is
  widely recognized: price setting and group negotiations among product market
  competitors within an SSO raises the specter of antitrust law, particularly charges of


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180
       Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 15 of 156




  collusion. A second concern draws less attention: considering pricing requires a
  change of culture and organization of SSOs that may distract from their primary goal
  of developing technical standards. Finally, some argue that shifting to ex ante will
  reduce the incentive to participate, or that firms will be able to game the policy.


  With regards to the first concern, are the SSOs’ antitrust fears justified? There is in
  fact gathering support to have SSOs negotiate licensing fees simultaneously with
  determining a standard (e.g. Majoras, 2005). The US Department of Justice has
  issued Business Review Letters that endorse a policy of ex ante price disclosure at
  VITA (an SSO that promotes the VMEbus computer architecture) and the IEEE.10 The
  VITA policy requires IP holders to commit to a “price cap” (i.e. a maximum royalty
  rate and most restrictive set of licensing terms), which can be amended downwards,
  while the IEEE policy allows firms to disclose their most restrictive licensing terms
  on a voluntary basis. Both policies continue to forbid direct negotiations over prices
  within the SSO.


  So why do SSOs remain hesitant to allow ex ante negotiations? While Business
  Review Letters insulate SSOs against public lawsuits, there would no doubt be
  private antitrust suits in this context, and it remains to be seen whether courts will
  view ex ante rate setting as legal. For example, Golden Bridge sued the 3GPP for
  facilitating collusion after the firm disclosed a patent and began negotiating license
  agreements, only to find that 3GPP members rewrote the standard so as not to
  infringe Golden Bridge’s patents. Similar claims of monopsony and group boycotts
  by SSO members were litigated in Sony Electronics vs. Soundview Technologies and
  Addamax vs. Open Source Software Foundation.11 Farrell at al (2007) suggest that the
  economic merits of these claims are weak: the damage to innovation incentives from
  collective negotiations are no greater than when the innovator must negotiate with

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     These letters are available at http://www.usdoj.gov/atr/public/busreview/219380.htm and
  http://www.justice.gov/atr/public/busreview/222978.htm (accessed on October 19, 2010).
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     Golden Bridge, Inc. vs, Nokia, Inc., 416 F. Supp. 2d 525, 528 (E.D. Tex. 2006). Sony Electronics Inc. vs.
  Soundview Technologies, Inc., 157 F. Supp. 2d 180, 185 (D. Conn 2001). Addamax Corp. vs. Open Source
  Software Found., 888 F. Supp. 274, 278 (1995).


                                                                                                           13
181
       Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 16 of 156




  a single large user. Nevertheless, SSOs are understandably reluctant to incur the risk
  of litigation.


  With regards to the second concern, standards are typically developed by engineers
  who lack the training and authority to consider prices. Business executives are
  certainly involved in SSOs from time to time. However, combining technical
  deliberations with royalty negotiations would presumably lead to significant
  changes in the ways that SSOs work and in who attends. Such changes would be
  costly and difficult, and not particularly welcome by many SSO participants. While it
  is difficult say how much weight should placed on these concerns, they are clearly
  important.


  A third concern with ex ante policies is that they might force patent‐holders to price
  a product that no licensee actually wants. In particular, most ICT licenses cover a
  firm’s entire patent portfolio, thereby ensuring a licensee’s freedom to operate with
  respect to a particular counterparty. Firms rarely offer a narrow license that covers
  only the essential patents for a single standard.12 However, in the absence of a
  stand‐alone licensing option, it is hard to know whether current practice reflects the
  preference of licensees or licensors.


  A final concern with ex ante policies is that they will be ineffective, or even harmful.
  In particular, firms might declare very high royalty rates to preserve flexibility in
  subsequent negotiations (essentially preserving the status quo) or stop
  participating in an SSO rather than commit to prices in advance. These arguments
  are not especially strong. While firms could certainly declare high maximum
  royalties under an ex ante policy, this would still remove some element of
  uncertainty. When combined with incentives to make timely disclosures, it is hard to
  see how mandatory ex ante disclosure would not lead to some price competition
  between substitute technologies.


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       [[Note on technically vesus commercially essential patents.]]


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182
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 17 of 156




  Concerning participation, the main reason for a firm to quit an SSO that adopts an ex
  ante policy is that it expects to earn less royalty income. But if an ex ante process
  mimics the hypothetical negotiation that would lead to a reasonable price, this
  implies that the departing firm expected to collect unreasonable royalties under the
  RAND policy. In that case, what harm comes from having them outside the SSO?
  Arguably, the ex ante policy screens out firms who view RAND as an empty promise,
  and reduces the chance that they will end up holding truly essential patents.
  Ultimately, the impact of adopting an ex ante disclosure policy on SSO participation
  is an empirical question. While there are only a few cases to study, the W3C and
  VITA are two examples of SSOs that have strengthened their licensing requirements
  without suffering a catastrophic decline in membership.


  Other Policies
  While recent debates on SSO intellectual property rules have focused on RAND
  commitments and ex ante disclosure rules, there are many other possibilities. One
  alternative to holding up‐front negotiations within SSOs is to encourage more price
  competition between them. For example, a number of standards consortia use a
  “Promoter‐Adopter” model where a small group of founding members (Promoters)
  contribute the key technologies and agree to an explicit licensing regime before
  signing up implementers (Adopters). Standards developed using this approach
  include the USB 2.0 and HDMI specifications. In comparing ex ante disclosure
  policies to the Promoter‐Adopter model, one can discern a trade‐off between the
  procedural costs of combining technical and licensing negotiations inside a single
  body, and the possibility of increased fragmentation and coordination failure when
  substitute technologies are promoted by competing SSOs.


  There are also several alternative policies that could be carried our within an SSO.
  For instance, Mark Lemley (2007) proposed several interesting extensions to ex
  ante negotiation. One option is to couple ex ante disclosure requirements with low
  “penalty default” royalty rates. Under this policy, the SSO would set a very low


                                                                                          15
183
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 18 of 156




  default royalty rate (perhaps free) as the maximum allowable royalty for firms that
  failed to provide explicit pricing commitments or make timely disclosures.


  One weakness of a RAND or ex ante policy with penalty defaults is that it does not
  address the royalty stacking problem: even with a low default rate, total royalties
  may add up when there are hundreds of declared essential patents and hundreds of
  standards per product. To address this issue, Lemley proposed that SSOs could
  adopt a step‐down royalty procedure. Under this policy, an SSO could cap the total
  royalties associated with a standard and award a share to each essential patent or
  firm. These shares could decline as patents are added to the pool, and might be
  higher for those who disclose earlier. While this step‐down procedure might not
  award the most royalties to the highest value patents, it would certainly provide an
  incentive for early disclosure, which would allow committees to make better‐
  informed decisions about any trade‐off between quality and implementation cost.


  Finally, Rysman and Simcoe (2011) suggest an alternative patent policy that
  dispenses with both RAND commitments and ex ante negotiations. Their proposal of
  Non‐Assertion After Specified Time (NAAST) would mimic the incentives of the
  underlying patent system by allowing patent‐holders a period of unrestricted
  licensing (i.e. they would not be bound by RAND or any other commitment), but
  forcing them to give up all rights to assert essential patents after some pre‐
  determined period of time. This policy would allow patent‐holders to recoup their
  investments in innovation during the assertion phase, but provide freedom of access
  to implementers and innovators who wish to build on the standard after the non‐
  assert phase begins. A major virtue of the NAAST policy is that it would be easy to
  adjudicate, since it does not rely on complex formulations for determining a
  reasonable price. It might also bring the effective patent term for essential patents
  into line with the length of ICT product life cycles. On the other hand, it is hard to
  know the appropriate length of the NAAST assertion period, or when it should
  commence.



                                                                                           16
184
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 19 of 156




  Penalty defaults, step‐down royalties and NAAST are not perfect solutions to the
  hold‐up problem. Rather they illustrate the wide range of feasible options for SSO
  intellectual property policies. Given the many possible policies, one might ask why
  we currently observe relatively little variation, and whether we should expect
  competition between SSOs to lead towards the best possible set of IPR policies? I do
  not think we know the answer to these questions.


  To be sure, many SSOs have tweaked and tightened their IP policies in the wake of
  Rambus and other major antitrust cases. There have been experiments with ex ante
  negotiation at VITA and the IEEE; the W3C switched to a royalty‐free policy, and
  OASIS allows individual technical committees to decide on the most appropriate IPR
  policy. However, many SSOs continue to rely on RAND policies that provide little
  clarity about disclosure timing and specificity, or how courts could determine a
  reasonable price. For some SSOs that run into few patent disputes, sticking with
  RAND may be a pragmatic approach that reflects the costs of creating a new IP
  policy as well as antitrust concerns. On the other hand, even at SSOs like ETSI, which
  have been embroiled in a number of major patent disputes, efforts to move away
  from the RAND regime (e.g. by defining “timely” disclosure) have encountered
  strong resistance. Ultimately, it is not obvious whether competition among SSOs
  takes the form of developing more efficient rules and procedures, or of providing
  alternative venues that favor the interests of different constituencies. These issues
  deserve more research.


  Public policy
  How can public policy support the emergence of private solutions to the problem of
  patent hold‐up in industry standards? One role for public agencies is to provide a
  credible threat of discipline for firms that violate SSO policies. Standard setting
  organizations typically have very limited enforcement powers: while they can
  threaten to withdraw support for a standard, this happens infrequently, and will
  have little effect when the specification already has a large installed base. However,
  antitrust agencies have brought actions against Dell, Unocal, Rambus and others for


                                                                                        17
185
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 20 of 156




  seeking to license patents that were not disclosed during the standard‐setting
  process.13 Simcoe (2005) shows that there was a substantial uptick in the number of
  patent disclosures following the Dell action in 1996. Thus, even if the terms of
  individual patent disclosures remain vague, these antitrust actions have arguably
  increased the information available to standards developers and implementers by
  making the enforcement of SSO polices credible.


  Another productive step taken by antitrust agencies in the US and Europe has been
  to offer Business Review Letters and public statements encouraging SSOs to allow
  more ex ante price negotiation. In particular, allowing the VITA and IEEE ex ante
  disclosure policies to move forward clearly signals that regulators understand the
  pro‐competitive potential of policies that lead to public price commitments. SSOs
  may still fear that ex ante policies will lead to private antitrust actions. This is a
  reasonable concern, particularly in the wake of the Golden Bridge v. Nokia ruling that
  group boycotts in SSO bargaining can be found per se illegal. However, statements
  by the DOJ and FTC suggest that conduct in ex ante price negotiations will typically
  be judged under a rule of reason standard, reflecting both the coordination benefits
  associated with joint technical decision making inside SSOs and the potential for ex
  ante negotiations to thwart patent hold‐up.


  A more controversial recommendation is that policy‐makers nudge SSOs towards
  providing more explicit guidance on disclosure rules and licensing commitments as
  part of their IPR policies.14 One way for policy‐makers to encourage more clarity
  might be to indicate a preference for explicit IPR policies and procedures in
  government purchasing guidelines, such as OMB Circular A‐119. The current
  guidelines indicate the voluntary consensus standards must “include provisions
  requiring [that] intellectual property [be made] available on a non‐discriminatory,


  13 See Dell Computer Corp., 121 F.T.C. 616 (1996); Union Oil Co. of Cal., FTC Docket No. 9305, and
  Rambus, Inc., FTC Docket No. 9302.
  14
     The Rambus court made several disparaging remarks about the lack of clarity in VITA’s IPR policies.
  However, my impression is that subsequent efforts at many SSOs have focused on clarifying procedural
  requirements as opposed to the substance of these rules.


                                                                                                           18
186
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 21 of 156




  royalty‐free or reasonable royalty basis to all interested parties” and encourage
  agencies to use of voluntary standards wherever practical. But these guidelines say
  very little about the choice among competing private standards. When government
  agencies act as consumers, it would be quite reasonable for them to favor standards
  that involve more certainty and less risk of ex post patent hold‐up. And since these
  purchasing guidelines leave agencies with considerable discretion, there is little risk
  that such a change would lead to excessive uniformity of SSO policies and
  procedures should vagueness be the optimal IPR policy for certain technologies or
  markets.


  Finally, though it is outside the scope of this essay, hold‐up problems could be
  mitigated through patent system reforms that reduce the myriad search and
  transaction costs that make markets for intellectual property function rather poorly
  in the ICT sector. In particular, the patent hold‐up problem would disappear if it
  were practical for firms to identify relevant patents and take‐out all of the necessary
  licenses before designing, building and marketing new products. This is far from the
  current reality. While private solutions such as SSOs and patent pools may provide a
  work‐around to the problems of patent hold‐up and royalty‐stacking, this essay has
  highlighted some of the inherent costs, limitations and trade‐offs of the primarily
  private approach.


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                                                                                          19
187
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 22 of 156



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                                                                                                      20
188
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 23 of 156



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                                                                                           21
189
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 24 of 156




                            EXHIBIT 12




190
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page25 of 102
                                                                  2 of 156




191
579
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page26 of 102
                                                                  3 of 156




192
580
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page27 of 102
                                                                  4 of 156




193
581
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page28 of 102
                                                                  5 of 156




194
582
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page29 of 102
                                                                  6 of 156




195
583
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page30 of 102
                                                                  7 of 156




196
584
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page31 of 102
                                                                  8 of 156




197
585
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page32 of 102
                                                                  9 of 156




198
586
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 33
                                                                10 of
                                                                   of 156
                                                                      102




199
587
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 34
                                                                11 of
                                                                   of 156
                                                                      102




200
588
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 35
                                                                12 of
                                                                   of 156
                                                                      102




201
589
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 36
                                                                13 of
                                                                   of 156
                                                                      102




202
590
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 37
                                                                14 of
                                                                   of 156
                                                                      102




203
591
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 38
                                                                15 of
                                                                   of 156
                                                                      102




204
592
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 39
                                                                16 of
                                                                   of 156
                                                                      102




205
593
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 40
                                                                17 of
                                                                   of 156
                                                                      102




206
594
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 41
                                                                18 of
                                                                   of 156
                                                                      102




207
595
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 42
                                                                19 of
                                                                   of 156
                                                                      102




208
596
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 43
                                                                20 of
                                                                   of 156
                                                                      102




209
597
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 44
                                                                21 of
                                                                   of 156
                                                                      102




210
598
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 45 of 156




                            EXHIBIT 13




211
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 46
                                                                23 of
                                                                   of 156
                                                                      102




212
600
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 47
                                                                24 of
                                                                   of 156
                                                                      102




213
601
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 48
                                                                25 of
                                                                   of 156
                                                                      102




214
602
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 49
                                                                26 of
                                                                   of 156
                                                                      102




215
603
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 50
                                                                27 of
                                                                   of 156
                                                                      102




216
604
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 51
                                                                28 of
                                                                   of 156
                                                                      102




217
605
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 52
                                                                29 of
                                                                   of 156
                                                                      102




218
606
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 53
                                                                30 of
                                                                   of 156
                                                                      102




219
607
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 54
                                                                31 of
                                                                   of 156
                                                                      102




220
608
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 55
                                                                32 of
                                                                   of 156
                                                                      102




221
609
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 56
                                                                33 of
                                                                   of 156
                                                                      102




222
610
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 57
                                                                34 of
                                                                   of 156
                                                                      102




223
611
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 58
                                                                35 of
                                                                   of 156
                                                                      102




224
612
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 59
                                                                36 of
                                                                   of 156
                                                                      102




225
613
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 60 of 156




                            EXHIBIT 14




226
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 61 of 156

           International Journal of
               IT Standards and
           Standardization Research
                                               January-June 2011, Vol. 9, No. 1


                               Table of Contents
    Letters to the Editor
i   Competing Views of Standards Competition: Response to Egyedi & Koppenhol
    Joel West, San José State University, USA
    Vladislav V. Fomin, Vytautas Magnus University, Lithuania

v   Reply from Egyedi & Koppenhol
    Tineke Egyedi, Delft University of Technology, The Netherlands
    Aad Koppenhol, Sun Microsystems, Inc., The Netherlands

    Appreciation
vii Professor of Standardization Wilfried Hesser Retires
    Henk de Vries, Erasmus University, The Netherlands

    Research Articles
1   Interpreting and Enforcing the Voluntary FRAND Commitment
    Roger G. Brooks, Cravath, Swaine & Moore, USA
    Damien Geradin, Tilburg University, The Netherlands

24 An Exploratory Analysis of the Relationship Between Organizational and Institutional
   Factors Shaping the Assimilation of Vertical Standards
   Rubén A. Mendoza, Saint Joseph’s University, USA
   T. Ravichandran, Rensselaer Polytechnic Institute, USA

52 The INTERNORM Project: Bridging Two Worlds of Expert- and Lay-Knowledge
   in Standardization
   Jean-Christophe Graz, Université de Lausanne, Switzerland
   Christophe Hauert, Université de Lausanne, Switzerland

    Project Report
62 Standardising the Internet of Things: What the Experts Think
   Kai Jakobs, Aachen University, Germany
   Thomas Wagner, Aachen University, Germany
   Kai Reimers, Aachen University, Germany




    227
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 62 of 156

       International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011 1




     Interpreting and Enforcing the
     Voluntary FRAND Commitment
                                Roger G. Brooks, Cravath, Swaine & Moore, USA
                             Damien Geradin, Tilburg University, The Netherlands


 Abstract
 Although often debated as though it were public law, a FRAND undertaking is a private contract between a
 patent-holder and an SSO. Applying ordinary principles of contract interpretation to the case of ETSI IPR
 policy reveals that “interpretations” of FRAND advocated by some authors—including cumulative royalty
 limits, royalties set by counting patents, or a prohibition on capture by the patent-holder of any gains created
 by standardization—cannot be correct (ETSI, n.d.). Rather, a FRAND obligation leaves wide latitude to pri-
 vate parties negotiating a license. However, this does not mean that a FRAND commitment has no substance
 to be enforced by courts. In this paper, the authors review how, consistent with both contract principles and
 established judicial method, courts can enforce a contractual obligation to offer licenses on FRAND terms,
 without becoming IPR price regulators. Similarly, ordinary principles of contract interpretation reveal that
 the “non-discriminatory” portion of FRAND cannot be interpreted to be coextensive with common “most
 favored nations” provisions, but instead contemplates substantial latitude for private parties to negotiate
 terms suited to their particular situations.

 Keywords:          ETSI, FRAND, IPR, Licensing, RAND, SSO, Standards




 Introduction                                                        very largely the domain of engineers; until
                                                                     the last decade, despite their commercial and
 A. Overview                                                         international importance, technical standards at-
                                                                     tracted very little litigation or legal commentary.
 Technical standards are far from a new phe-                              But times have changed. Now, lawyers
 nomenon. Since the late eighteenth and early                        are studying intensively each stage of the
 twentieth centuries, national and international                     standardization process: membership rules
 bodies—in many cases purely private and volun-                      of standards-setting organizations (“SSOs”),
 tary bodies—have been promulgating standards                        policies concerning disclosure of potentially
 in a wide array of commercially important                           relevant patents, licensing of “essential” patents,
 technical fields. Over the years, thousands of                      and enforcement in the case of alleged viola-
 such standards have been developed, approved,                       tions of SSO policies—all are now transformed
 and used in industry. Until recently, all this was                  into legal topics.
                                                                          In this new world of standards, one of the
 DOI: 10.4018/jitsr.2011010101                                       currently most contentious issues concerns the


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       228
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 63 of 156

    2 International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011


    meaning of a commitment by the holder of                            of many of these calls for what is essentially
    patents “essential” to the practice of a standard                   government intervention in the private licencing
    to license such patents on “fair, reasonable,                       process.1 But in this paper we step back to ask a
    and nondiscriminatory” (FRAND) terms and                            different question: What do these arguments and
    conditions. The body of legal literature ad-                        proposed regimes have to do with the contract
    dressing this question is by now substantial,                       which is the source of the FRAND obligation?
    and growing. While not necessarily reaching                               This paper is divided in four section. Sec-
    similar conclusions, a number of authors have                       tion 1 reviews the basic fact that a FRAND
    addressed this issue as a question of economic                      commitment is the result of a voluntary contract
    theory: what limitations (if any) on the freedom                    between essential patent holders and a stan-
    of the parties negotiating a licence to essential                   dards-setting organization, with the important
    patents will best ensure efficient outcomes?                        corollary that the meaning of that commitment
         As a response to this question, authors have                   must be determined through the legal methods
    variously argued that, in order to satisfy a “fair                  of contractual interpretation. Using a FRAND
    and reasonable” commitment, a patent holder:                        undertaking to ETSI as an example, it identifies
                                                                        the main categories of information potentially
    •     Must charge no more than the incremental                      relevant to contract construction, including for
          value of his invention over the next best                     instance the contract language itself, and the
          technical alternative (Lemley & Shapiro,                      “negotiation history” of the ETSI IPR Policy
          2007; Dolmans, 2008; Temple Lang, 2007);                      (ETSI, n.d.). Section 2 shows that none of
    •     Must not negotiate for a royalty-free cross-                  these categories of information support any of
          licence as part of the consideration for a                    the restrictive limitations listed at the opening
          license (Dolmans, 2008);                                      of this introduction. On the contrary, “fair and
    •     Must set his royalty rate based on a math-                    reasonable” are on their face flexible terms the
          ematical proportion of all patents essential                  specific content of which is substantially left to
          to the practice of a standard (Chappatte,                     the negotiation between the parties. Our research
          2009; Temple Lang, 2007);                                     also shows that all attempts made subsequent
    •     Must set his royalty rate in such a way                       to the ETSI IPR Policy’s adoption to alter the
          as to prevent cumulative royalties on the                     balance of interests between essential patent
          standardised product from exceeding a                         holders and implementers by changing the
          low percentage of the total sale price of                     meaning of FRAND have been rejected by the
          that product (Lemley & Shapiro, 2007);                        ETSI membership. Section 3 addresses issues
    •     Must not raise requested royalty rates after                  regarding the judicial enforcement of a FRAND
          the standard has been adopted, or after the                   undertaking. First, we demonstrate that, when it
          relevant market has grown to maturity                         is alleged that a patentee has failed to offer “fair
          (Chappatte, 2009; Shapiro & Varian, 1999;                     and reasonable” terms, the role of a court is not
          Swanson & Baumol, 2005);                                      to determine what “fair and reasonable” terms
    •     Is not entitled to seek injunctive relief                     would be, but whether the terms offered, taking
          against a standard implementer should they                    into account all of the specific circumstances
          fail to agree on licence terms (Farrell et al.,               between the parties and prevailing market condi-
          2007; Temple Lang, 2007).                                     tions, fall outside the range of reasonableness
                                                                        contemplated by the FRAND commitment.
         The types of economic arguments relied                         Second, we conclude that a licencee should not
    on by these authors to justify these restrictive                    be able to collaterally attack the enforceability of
    regimes may well be useful in debating public                       a licence based on a prior FRAND commitment.
    policy and the proper application of antitrust                      Third, we note that what is “fair and reason-
    rules – although one of the present authors                         able” after full adjudication of infringement
    and others have elsewhere critiqued the merits                      and validity may be higher than what would


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    229
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 64 of 156

       International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011 3


 have been “fair and reasonable” in the context                      (ANSI, 2010, Sections 3.0, 3.1, 3.3). More than
 of pre-litigation negotiations. Section 4 offers                    200 SSOs (responsible for more than 9000
 a few observations as to the “intent of the par-                    standards) are now accredited by ANSI and
 ties” with respect to the “non-discriminatory”                      thus operate under its patent policy (ANSI,
 component of FRAND based on the deliberative                        n.d.). As will be seen, the ANSI IPR policy
 record surrounding the adoption of the ETSI                         language is closely consistent with that of the
 IPR policy, concluding that while the “ND”                          ETSI policy. However, so far as we have been
 of FRAND does impose requirements that in                           able to determine, ANSI has not maintained
 some contexts will go beyond the requirements                       archives capturing the deliberations surround-
 of national competition law, it cannot be read                      ing the original adoption of its RAND-based
 as requiring the equivalent of universal “most                      IPR policy.
 favored licensee” rights for all licensees.

 B. Methodology                                                      1. The Contractual Basis
                                                                     of FRAND Obligations
 We focus our analysis on the ETSI IPR policy for
 two reasons. First, the ETSI policy in particular                   A. FRAND as a Voluntary Contract.
 is a subject of great economic importance and
 current controversy with the European Union.                        The core right and definition of a patent is the
 The WCDMA standard adopted by ETSI was,                             power to exclude others from practicing the
 for instance, at the core of a couple of a competi-                 invention. Obviously, an agreement to licence
 tion law investigations initiated by the European                   on FRAND terms is a critical restriction of that
 Commission, which ended with no finding of                          right. What is equally obvious is that a FRAND
 infringement at the end of 2009.2 (European                         obligation is solely the result of a voluntary
 Commission, 2009a, 2009b). Second, ETSI has                         contract entered into by the patent owner on an
 maintained an unusually comprehensive and                           identifiable date (Miller, 2007; Lemley, 2002).3
 accessible archival history of its deliberations                    And it is voluntary in at least two ways. First,
 concerning IPR policy. ETSI was by no means                         a patent-holder may decline membership in
 the first SSO to request FRAND (or RAND)                            an SSO, and thus have no obligations under
 commitments from members, but it engaged                            its rules.
 in and has preserved records of meaningful                                Second, based on our non-exhaustive re-
 discussion of its IPR policy at the time of its                     view, it appears that at least most major SSOs
 original adoption, and of proposed changes in                       make a FRAND commitment voluntary even
 subsequent years, leaving a valuable resource                       for members. That is, members are requested
 for those wishing to learn how industry partici-                    – not required – to commit to licence patents
 pants actually understand FRAND – at least in                       on FRAND terms, and may elect to do so, or
 the context of one major SSO.                                       not, on a patent-by-patent basis. While there
       For context and broader perspective,                          are SSOs that require a blanket FRAND com-
 we have also looked to the IPR policy of the                        mitment as a condition of membership, such
 American National Standards Institute (ANSI,                        requirements have in some instances created
 1959), an organization founded in 1918 and a                        “nonparticipation” problems, ETSI and ANSI
 founding member of the International Standards                      are representative in their explicitly voluntary
 Organization (ISO). ANSI is not itself an SSO,                      policies, under which an obligation to licence
 but rather is an organization that encourages                       a patent on FRAND terms arises not by auto-
 standardization and accredits SSOs. ANSI has                        matic operation of the entity’s policy, but (at
 promulgated a patent policy since at least 1959,                    the earliest) only if and when the patent owner
 and requires as a condition of accredidation                        agrees, in writing, to licence on FRAND terms.4
 that an SSO comply with ANSI’s patent policy                              If a member patentee wishes to retain
                                                                     its right to exclude, and so declines to make


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       230
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 65 of 156

    4 International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011


    a FRAND commitment with respect to a                                result, there is no reason at all to suppose that
    particular patent, then the SSO generally will                      the “founding fathers” of ETSI (for example)
    simply adopt a standard that does not use that                      settled on IPR policies that are functionally
    patented technology,5 leaving the SSO no worse                      interchangeable with EU competition law, as
    off than if the excluded innovation had never                       some authors more or less suggest (Dolmans,
    been developed, and potentially advantaging                         2008) (“Article 82 obligations are substantially
    consumers by setting up competition between                         similar to the contractual obligations under
    standardised and proprietary solutions.                             FRAND commitments.”). Nor is there any rea-
          We note that the draft “Guidelines on                         son to suppose that the agreement they reached
    the applicability of Article 101 of the Treaty                      did or was intended to implement idealized
    on the Functioning of the European Union to                         economic theory.
    horizontal co-operation agreements” (European                            We propose, then, to take the FRAND
    Commission, 2010) (the “Horizontal Coopera-                         obligation seriously as a contract. Using a
    tion Guidelines”) recently issued by DG Comp                        FRAND undertaking to ETSI as an example,
    would radically change this landscape, imposing                     we will ask when the contract was formed, and
    a de facto requirement (on pain of competition                      what the parties actually agreed to.
    law liability) that all SSOs require mandatory                           Acknowledging the relevance of the “intent
    blanket FRAND commitments from members                              of the parties” to the meaning of a FRAND com-
    (SEC (10) 528/2 draft para. 282). With respect                      mitment raises the possibly troubling spectre
    to SSO members, this policy would for the                           that FRAND could mean different things in
    first time impose an involuntary termination                        different SSOs. As a theoretical matter, this
    of the basic patent “right to exclude”, with the                    is true. As a practical matter, there are good
    only “voluntary” option left being the choice                       reasons to believe that the memberships of
    to abstain from participation in the SSO. As a                      major SSOs do not mean different things by
    by-product, the ability of an SSO member to                         “FRAND”. First, the major players in major
    elect to compete against a standard by means                        SSOs are generally multi-national corporations
    of a proprietary solution would be eliminated                       that participate in multiple SSOs; one would
    as a practical matter.                                              expect their employees to carry a generally
                                                                        consistent expectation of what “FRAND” means
    B. Interpreting FRAND                                               from one context to the next. Second, as will
    as a Contract.                                                      be seen in our review below, individual SSOs
                                                                        have not infrequently explicitly referred to the
    If a FRAND undertaking is a contract, then                          IPR policies of longer-established SSOs as
    there are legally proper methods for determin-                      precedent to explain or justify their own IPR
    ing what that contract means, and they do not                       policies. And third, as an empirical matter to
    include lengthy flights of economic theory. On                      the limited extent commentary bearing on the
    the contrary, both the Civil Law and Common                         intent of ANSI’s RAND licensing policy can
    Law traditions of contract interpretation and                       be identified, it reveals no evidence of any
    enforcement fundamentally look to discern and                       significant divergence in intent with respect to
    give effect to the intent of the parties (Corbin,                   FRAND commitments. Thus, while one must
    1952, p. 538).6                                                     always bear in mind the possibility of divergent
         In that context, we note that the “parties”                    “intents” among different SSOs, it is consider-
    to a FRAND undertaking are the patent owner                         ably more likely that the record provided by
    and the SSO, while the “parties” that developed                     the well-documented history of the ETSI IPR
    and agreed upon the underlying IPR Policy were                      policy is giving us a window into how active
    the diverse set of industry participants that make                  participants in standardised high-technology
    up the membership of the SSO – not academic                         industries generally understand FRAND.
    economists or competition authorities. As a



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    231
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 66 of 156

       International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011 5



 C. Locating the Intent                                              also be relevant. However, since this class of
 of the Parties                                                      evidence of intent would by its nature pertain
                                                                     only to individual declarations, we will not give
 It is easy to refer to “the intent of the parties”,                 it any further consideration in this discussion
 but in the case of a voluntary FRAND com-                           of general principles.
 mitment, locating that intent is by no means                             It is indeed possible that economic theory
 a simple matter. A particular FRAND obliga-                         might make additional contributions by enabling
 tion comes into existence as the last step in a                     us to better understand the course of the contract
 lengthy history. Taking ETSI as our working                         negotiations, or the contemporaneous industry
 example, the relevant terms of the ETSI IPR                         practices, but nothing in either the Civil Law or
 Policy were fixed by vote of the ETSI mem-                          Common Law tradition could permit economic
 bership in 1994. However, the adoption of the                       theory to substitute for or overrule evidence of
 ETSI IPR Policy did not create any FRAND                            the actual intent of the parties. Further, if one
 commitment; it merely set out the terms under                       did wish to use economic theory to predict or
 which ETSI may (if it follows its rules) consider                   better understand the IPR Policy compromises
 member-owned IPR for inclusion in standards.                        actually reached by the members of ETSI or
 No contract is formed, no FRAND commitment                          any other SSO, one would need to look to
 is created, until a patent holder voluntarily                       game theory models that take into account the
 submits a written agreement to licence identi-                      institutional interests and bargaining power of
 fied patents (whether identified individually or                    the member organizations, and we have not seen
 categorically) on FRAND terms. Certainly it is                      that complicated game attempted.
 this written agreement or “undertaking” that
 is the contract (in the words of ANSI, it is the
 written undertaking that “creates a commitment                      2. The Contractual
 by the patent holder and third-party beneficiary                    Meaning of “Fair
 rights in implementers of the standard” (ANSI,                      and Reasonable”
 2006), but since such undertakings commonly
                                                                     In this section, we look to the main categories
 repeat or refer to the “fair, reasonable, and
                                                                     of information potentially relevant to contract
 nondiscriminatory” terminology of the pre-
                                                                     construction identified above to determine the
 existing IPR Policy, and are written against the
                                                                     meaning of “fair and reasonable” in connection
 background of that policy, such an undertaking
                                                                     with the ETSI IPR policy in particular. On oc-
 cannot be construed as a free-standing docu-
                                                                     casion, we also cite to ANSI materials as well
 ment, but must be construed (as it was written)
                                                                     for broader industry context.
 with reference to the IPR Policy.
       In sum, we identify four main categories                      A. The Plain Language
 of information potentially relevant to contract
 construction: (i) the contract language itself;                     The starting point of any contract interpreta-
 (ii) information as to the pre-existing “under-                     tion must be the language of the contract itself.
 standing of the industry” as to what a FRAND                        The terms “fair and reasonable” are on their
 undertaking to an SSO meant, at the time the                        face terms implying wide latitude; they are
 FRAND concept was incorporated into the                             permissive words to which there is even con-
 SSO IPR Policy; (iii) information concerning                        ceptually no one right answer.7 For example, in
 the actual deliberation and debate by the ETSI                      connection with the sale of a relatively illiquid
 members at the time the policy was adopted; and                     property such as a house or a tract of real estate,
 (iv) subsequent comment and action relating to                      negotiations between the seller and one or more
 the meaning of FRAND by the relevant SSO.                           potential buyers could result in a considerable
       The specific language of a particular decla-                  range of prices (perhaps differing depending on
 ration made by a patent holder would of course                      the urgencies of the parties), any one of which


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       232
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 67 of 156

    6 International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011


    the outside observer would have to concede to                       the general principles of standardization.”
    be at least “fair” or “reasonable”. The same is                     (emphasis added)
    surely true of prices and terms for patent rights.
          But we can say more. When a patent holder                           The above language makes clear that the
    commits to licence on “fair, reasonable, and                        rationale behind the FRAND commitment – and
    nondiscriminatory” terms in response to and                         the “fair and reasonable” terms that are part of
    pursuant to Section 6.1 of the ETSI IPR Policy,                     it – is twofold: (i) to ensure dissemination of the
    it is appropriate that, when considering the                        essential IPR contained in a standard, thereby
    “plain meaning”, we look to what was before                         allowing it to remain available for adoption
    the declarant: the “plain meaning” of FRAND                         by members of the industry, whilst at the same
    as it appears in context within the IPR Policy.                     time (ii) making certain that holders of those
          The ETSI IPR Policy states as its “Policy                     IPR are able to reap adequate and fair rewards
    Objectives” the following:                                          from their innovations.
                                                                              The fact that IPR holders should be “ad-
    “3.1 It is ETSI’s objective to create STAN-                         equately” rewarded is listed as the first criterion,
    DARDS and TECHNICAL SPECIFICATIONS                                  and is by no means a synonym of “fair”. One
    that are based on solutions which best meet the                     may ask, “adequate for what purpose?” In the
    technical objectives of the European telecom-                       context of the wireless industry in which con-
    munications sector, as defined by the General                       tinual innovation is the lifeblood of the entire
    Assembly. In order to further this objective the                    industry, the answer is utilitarian and reasonably
    ETSI IPR POLICY seeks to reduce the risk to                         clear: “adequate to motivate the investment and
    ETSI, MEMBERS, and others applying ETSI                             risk necessary to create the next generation of
    STANDARDS and TECHNICAL SPECIFICA-                                  innovation”.
    TIONS, that investment in the preparation,                                This is as one would expect: the goal to
    adoption and application of STANDARDS could                         motivate future investment lies at the heart of
    be wasted as a result of an ESSENTIAL IPR for a                     the patent system, and is essential to the success
    STANDARD or TECHNICAL SPECIFICATION                                 of the standards enterprise. A Communication
    being unavailable. In achieving this objective,                     of the European Commission issued in 1992
    the ETSI IPR POLICY seeks a balance between                         (European Commission, 1992) – just at the time
    the needs of standardization for public use in                      ETSI began developing its IPR policy – empha-
    the field of telecommunications and the rights                      sized the prospective, motivational imperative
    of the owners of IPRs.                                              specifically in the standards context:

    3.2 IPR holders whether members of ETSI and                         “[T]he incentive to develop new products and
    their AFFILIATES or third parties, should be                        processes on which to base future standardiza-
    adequately and fairly rewarded for the use                          tion will be lost if the standard-making process
    of their IPRs in the implementation of STAN-                        is carried out without due regard for intellectual
    DARDS and TECHNICAL SPECIFICATIONS.                                 property rights” (European Commission, 1992)

    3.3 ETSI shall take reasonable measures to                              Recent (2006) commentary from ANSI
    ensure, as far as possible, that its activities                     highlights the same policy goal of motivating
    which relate to the preparation, adoption and                       new R&D investment:
    application of STANDARDS and TECHNICAL
    SPECIFICATIONS, enable STANDARDS and                                “In return for “sharing” its patented technology
    TECHNICAL SPECIFICATIONS to be avail-                               (including making it available to competitors),
    able to potential users in accordance with                          the patent holder may receive reasonable com-




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    233
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 68 of 156

       International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011 7


 pensation from implementers of the standard in                      ing at any of the very specific and restrictive
 a non-discriminatory manner. The patent laws                        limitations listed at the opening of this paper,
 were designed in part to stimulate innovation                       which other authors attempt to read into “fair
 and investment in the development of new                            and reasonable”.10
 technologies, which can be shared at reason-                             Also in at least potential contrast to the
 able rates with all those wishing to implement                      pragmatic and prospective policy purposes
 a standardized solution to an interoperability                      embodied in the goal of “adequate” compensa-
 or functionality challenge” (ANSI, 2006) (em-                       tion to IPR owners found in Section 6.1 of the
 phasis added).                                                      ETSI IPR Policy is the Horizontal Cooperation
                                                                     Guidelines proposal to measure what is “fair
      Given a goal of compensation that will                         and reasonable” by reference to “the economic
 “adequately” motivate next-generation inno-                         value of the patents” (Horizontal Cooperation
 vation, the ETSI IPR Policy’s reliance on the                       Guidelines para 284). While “economic value”
 undeniably loose terms “fair and reasonable”                        could be defined so many ways that it may in
 will be seen as inevitable rather than a “defect”.                  practice be as open as “fair and reasonable”,
 The reason is that the circumstances surround-                      on its face it introduces terminology foreign to
 ing the negotiation of particular licencing                         the IPR policy of ETSI (and that of ANSI), and
 agreements differ widely;8 the scale of R&D                         suggests a retrospective focus (on the “value”
 investment which must be induced in order to                        of past innovation) rather than the prospective
 bring in the next generation of innovation in a                     and motivational focus that is native to the
 timely fashion may escalate from one genera-                        theory of patents. Certainly the “plain language”
 tion to the next; the investment-discouraging                       of the ETSI IPR Policy does not point in that
 risk that R&D investment will result in failure                     new direction.
 may vary from one setting to the next. Given
 this radical and irreducible variability in the                     B. “Fair and Reasonable” in
 real world, only flexible terms such as “fair                       the Standards Context Prior
 and reasonable” – the precise content of which                      to the ETSI IPR Policy
 is left to negotiation between the parties on
                                                                     While focusing on the ETSI IPR Policy in our
 a case-by-case basis – can ensure the widest
                                                                     discussion above, we have also cited to ANSI-
 availability of the technology embodied in
                                                                     related sources where available as providing a
 the standard in the widest possible variety of
                                                                     separate “datapoint”. However, the IPR policies
 circumstances, without unduly diminishing
                                                                     of major SSOs are in truth not “independent”.
 the innovation incentives that patent law was
                                                                     No SSO IPR policy adopted in recent decades
 designed to create.9 Thus, as pointed out by the
                                                                     has arisen ex nihilo; quite the contrary, they are
 European Commission in its Communication
                                                                     adopted by sophisticated industry participants
 on “Intellectual property rights and standardiza-
                                                                     against a global background of decades of
 tion” that was issued while the ETSI IPR Policy
                                                                     successful precedent. In the case of ETSI, the
 was being negotiated, beyond the broad goal
                                                                     framers of its IPR policy very explicitly picked
 that essential technology be available, “it is not
                                                                     up the “FRAND” concept from the pre-existent
 feasible or appropriate to be more specific as to
                                                                     “RAND” policy of the International Standards
 what constitutes “fairness” or “reasonableness”
                                                                     Organisation (ISO). For example, a document
 since these are subjective factors determined by
                                                                     submitted by the ETSI Technical Assembly
 the circumstances surrounding the negotiation”
                                                                     Chairman in 1991 proposed that “The licens[or]
 Communication of the Commission “Intel-
                                                                     is required to grant licences on fair and rea-
 lectual Property Rights and Standardization”
                                                                     sonable non discriminatory terms as for the
 (European Commission, 1992).
                                                                     ISO policy” (12 TA TD 7 4 (attached to ETSI/
      By contrast, the above extracts of the ETSI
                                                                     GA11(91) TD 20).11 Similarly, the ETSI Director
 IPR Policy do not contain any language hint-


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       234
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 69 of 156

    8 International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011


    submitted the ETSI Annual Report to the 12th                             Here again, what our research has not found
    ETSI General Assembly in 1992, which stated                         is any indication, by the time ETSI adopted its
    that ETSI was “developing a policy, based on                        current FRAND policy in 1994, that “fair and
    that of the International Standards Organisation                    reasonable” in the context of the ISO – or other
    (ISO) and the International Electrotechnical                        SSOs – had ever been held by the ISO or by
    Commission (IEC)” (ETSI/GA12(92)TD 15                               any court to imply any of the detailed restric-
    6). IPR policies very similarly worded to that                      tions recently hypothesized by various authors.
    of the ISO were at that time already in place at
    other internationally important SSOs as well.                       C. “Negotiation History”
    It is reasonable, then, to suppose that the un-                     of the ETSI IPR Policy
    derstanding of technology industry companies
    as to what “fair and reasonable” meant in this                      As we have noted, the relatively recent history
    context was informed by the usage in those                          of the adoption of ETSI’s IPR policy is well
    other SSOs.                                                         documented, and key points in the negotiation
          One could review that context at length, but                  and adoption of that policy may also shed light
    we will limit ourselves here to only a few illustra-                on what ETSI members (including major multi-
    tions. For instance, an ISO document circulated                     national technology companies13) understand
    by the ISO/IEC Secretariat in 1999 stated that,                     that they are agreeing to when they make a
    even by that date, “ISO has no guidelines as to                     FRAND undertaking.
    what constitutes ‘reasonable’ since each patent                          ETSI as an organization was established
    holder sets its own fee which is based upon                         in 1988, by the European Conference of Postal
    commercial considerations at the time” (“Issues                     and Telecommunications Administrations
    Relating to Patents – SC17’s Patent Policy”                         (“CEPT”). As discussed in the previous sec-
    (Sept. 21, 1999) ISO/IEC JTC1/SC17 N 1585).                         tion, when it set out to adopt an IPR policy
    Similarly, the patent policy of the International                   in the early 1990s, ETSI looked to the ISO
    Telegraph and Telephone Consultative Commit-                        IPR policy in general, and in particular with
    tee (CCITT) (now known as ITU-T) in place in                        respect to FRAND licensing. However, in other
    1994 aimed to ensure that patentees “would be                       respects ETSI’s draft policy initially aimed at
    willing to negotiate licences with other parties                    what the ETSI Technical Assembly Chairman
    on a non-discriminatory basis on reasonable                         believed would be an “advance” over the ISO
    terms and conditions”, but emphasized that the                      IPR policy (12 TA TD 7 3). This proposed
    “detailed arrangements arising from patents                         package of heightened restrictions on IPR
    (licencing, royalties, etc.) are being left to the                  owners included what became referred to as an
    parties concerned, as these arrangements might                      “automatic licencing” or “licencing by default”
    differ from case to case” (ETSI/GA15(93)18).12                      provision, a requirement of advance declaration
    Finally, in a 1992 letter to ETSI, ANSI noted                       of maximum royalty rates, a rule precluding
    that “under the ISO/IEC and ANSI policies                           required cross-licences, and a mandatory
    licensors remain free to negotiate such license                     arbitration requirement (ETSI/GA12(92)3).
    terms as they may deem appropriate so long as                            Commencing at the 12th ETSI General
    such licenses are fair and non-discriminatory”                      Assembly meeting in April 1992, fierce contro-
    (ETSI/GA12(92)TD3 4). Obviously, by the                             versy broke out over these proposed heightened
    time ETSI set out to adopt its own IPR policy,                      restrictions. We find in this debate an interest-
    the ISO, ITU, and ANSI between them had (or                         ing intersection of ETSI and ANSI, as ANSI
    their members had), promulgated numerous eco-                       submitted to ETSI a letter containing strong
    nomically important standards which had been                        warnings about the impact of the proposed
    widely and successfully implemented, within                         restrictions on licensing freedom on incentives
    the framework of this generally consistent and                      for innovation:
    unrestrictive conception of “F/RAND”.


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    235
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 70 of 156

       International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011 9


 “If holders of IPRs are deprived of the ability                     removed, placing ETSI’s IPR policy squarely
 freely to determine the terms and conditions                        in the main stream of the policies of other major
 upon which they will (or will not) make their                       international SSOs (ETSI/GA21(94)3; ETSI/
 IPRs available to others, the incentive for in-                     GA21(94)39 Rev.2 17-18). The 1994 policy
 vesting in innovative research and development                      remains in effect today, with minor changes.
 will be significantly compromised. Furthermore,                          What this history documents is that not
 the incentive for leaders in the development                        merely was FRAND a concept borrowed in its
 of technological advancements to participate                        inception from prior use by the ISO, but that
 in the ETSI standardization process will be                         the ETSI membership did not pour new mean-
 dramatically undermined” (ETSI/GA12(92)                             ing into FRAND, as all attempts to do so were
 TD3 4).                                                             rejected. Thus, any one who wishes to argue
                                                                     some restrictive or idiosyncratic meaning for
      Nevertheless, at the March 1993 15th ETSI                      an ETSI FRAND undertaking, whether based
 General Assembly, an IPR Policy and Under-                          on economic argument or idiosyncrasies of EU
 taking including some of the novel provisions                       or French law, should face a substantial burden
 noted above was approved over heated opposi-                        of proof as a matter of contract interpretation.
 tion including threats by some participants to
 withdraw from ETSI.14                                               D. Post-1994 ETSI Comment
      However, following the approval, even                          on the FRAND Undertaking
 louder opposition broke out. Several important
                                                                     Post-adoption ETSI commentary and actions
 IPR owners objected strongly to the “automatic
                                                                     establish that the ETSI membership has con-
 licencing” provision, and the Computer and
                                                                     sistently rejected subsequent efforts to alter the
 Business Equipment Manufacturers” Associa-
                                                                     balance of interests between IPR owners and
 tion (“CBEMA”) filed a complaint with the
                                                                     licencees by changing the meaning of FRAND.
 European Commission asserting that novel
                                                                            In 2003, a number of ETSI members pro-
 aspects of the policy (including the require-
                                                                     moted an effort to make FRAND less flexible and
 ment of advance disclosure of royalty rates)
                                                                     discretionary by defining or giving examples of
 were anticompetitive. Important participants
                                                                     practices that would violate FRAND. The ETSI
 threatened to withdraw from ETSI if the policy
                                                                     General Assembly authorized the creation of an
 was implemented (Iversen, 1999);15 so serious
                                                                     Ad Hoc Group (AHG) to consider and report on
 was the dissention among the membership
                                                                     such proposals (ETSI/GA42(03)20). During this
 that the ETSI Technical Assembly Chairman
                                                                     process, multiple participants in the ETSI AHG
 warned that “other entities with simpler rules
                                                                     noted their understanding that the meaning of
 may have ambitions to take over ETSI work
                                                                     FRAND was a matter of global consensus, not
 and ETSI could be out of business in five or
                                                                     an ETSI question. A representative of Microsoft
 ten years” (ETSI/GA20(94)22 Rev.1 4).16 On
                                                                     observed that “FRAND is a standard principle
 22 July 1994, the ETSI General Assembly voted
                                                                     throughout all SDOs”, while a representative
 to “abandon the IPR Undertaking as adopted by
                                                                     of Motorola asserted that the “FRAND term is
 the General Assembly meeting during its meet-
                                                                     identical in ITU policy, Japan SDO, US SDO
 ing on 18 March 1993” (ETSI/GA20(94)20;
                                                                     . . . and this [‘FRAND’] is the standard way to
 ETSI/GA20(94)22 Rev. 1). The 1993 draft
                                                                     express it” (ETSI/GA/IPR02(03)05 3).
 IPR Policy and Undertaking was never actually
                                                                            But even if FRAND had historically been a
 implemented by ETSI, and following the July
                                                                     global concept, other AHG participants argued
 1994 vote ETSI was again without an IPR policy.
                                                                     that ETSI should nevertheless endorse new spe-
      Finally, at the 21st ETSI General Assembly
                                                                     cific restrictions under the FRAND umbrella for
 in November 1994, the ETSI membership ap-
                                                                     its own purposes. Proposals included prohibi-
 proved an IPR policy from which the height-
                                                                     tions on licences that require a royalty-free cross
 ened restrictions described above had been


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       236
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 71 of 156

    10 International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011


    licence, prohibitions on requiring “grantbacks”                     restrictive) definition of FRAND terms and con-
    of rights to improvements, and prohibitions on                      ditions, stating instead that “such commercial
    licencing for certain regions of the globe at rates                 terms are a matter for discussion between the
    different from those charged for other regions.                     IPR holder and the potential licensee, outside
    But none of these restrictions ever were agreed                     of ETSI” (§ 2.2), and “Specific licensing terms
    to, whether by the AHG or by the ETSI General                       and negotiations are commercial issues between
    Assembly. Instead, the AHG reported to the                          the companies and shall not be addressed within
    ETSI General Assembly that “The ETSI IPR                            ETSI” (§ 4.1).
    Policy does not define FRAND”, and that “The
    ad hoc group was unable to define FRAND
    conditions” (ETSI/GA42(03)20 8). Further, it                        3. Enforcing FRAND
    reported that “holders of big IPR portfolios”                       Contractual
    “saw no sense in . . . attempts” “to indirectly                     Commitments
    define FRAND conditions by giving several
                                                                        A. Who Decides, and How?
    examples of bad practices” (Ibid at p.9). The
                                                                        The Role of Courts
    AHG provided with its report an “Annex A”
    that contained a list of supposed “bad practices”                   Business people—those who actually develop
    that had been proposed by those members who                         and use standards—inhabit a world ruled
    advocated additional restrictions, while noting                     not by theoretic constructs, but by interests,
    that these had not been agreed to by the AHG.                       negotiation, and endless and thoroughly prag-
    The ETSI GA, while accepting the report itself,                     matic compromise. But lawyers, academics,
    went farther and deleted this Annex A entirely                      and regulators breathe different air, and have
    (ETSI/GA42(03)20 Rev.1; ETSI/GA42(03)34                             a strong desire for certainty and consistency:
    4-5).                                                               What exactly constitute FRAND license terms?
         In 2006 another effort to tighten the per-                     What formula or rule may we use to determine
    missive nature of “fair and reasonable” was                         whether offered terms are or are not FRAND?
    made within ETSI, with Nokia and two other                          Are particular terms for a particular portfolio
    manufacturers advocating that ETSI should                           FRAND, or are they not?
    “make changes to the [ETSI] IPR regime and                               This desire for clear rules is understandable,
    practices” by “introduc[ing] the principles of                      but it cannot be reconciled with the concept
    AGGREGATED REASONABLE TERMS and                                     of FRAND as adopted and understood by the
    PROPORTIONALITY into the FRAND defi-                                industry participants who use it. The terms
    nition” (ETSI/GA/IPRR01(06)08 2-3).17 The                           “fair and reasonable” are on their face terms
    proposal was once again intensely controversial                     of wide latitude and discretion, and as we have
    within ETSI, and was not adopted by the General                     seen, that latitude has been emphasized rather
    Assembly (ETSI GA/IPRR06(06)24 Rev.1 14).                           than restricted by commentary from multiple
         Thus, any party contemplating making a                         SSOs, and the membership of ETSI has more
    FRAND commitment that looks to the ETSI                             than once rejected efforts to add more specific
    record to understand what such a commitment                         and therefore more constricting limitations into
    would mean will find the ETSI membership                            the meaning of FRAND.
    declining to approve restrictions or interpreta-                         Given the endless and wide variety of mar-
    tions identical or analogous to many of those                       ket and technological circumstances in which
    advocated today by the proponents of the                            FRAND commitments are made, it may well
    restrictive FRAND regimes.                                          be that any less flexible obligation would prove
         Most recently, ETSI’s “Guide on IPRs”,                         a procrustean bed, potentially discouraging
    published in 2007, once again specifically dis-                     SSO participation, or damaging incentives for
    claims any notion that ETSI does or intends to                      beneficial R&D investment. But whether or not
    impose any more specific (and therefore more                        this is true as a policy matter, the fact remains


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    237
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 72 of 156

     International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011 11


 that the meaning of FRAND (if construed as a                             This type of analysis is not foreign to courts.
 voluntary contract) is such that there can be no                    Under US patent law, for example, after a jury
 mathematical rules for determining what is or is                    has awarded “reasonable royalty” damages, the
 not FRAND, because there is not and was not                         appeals court does not seek to second guess
 intended to be a precise answer to that question.                   that decision and substitute its own view of
       If FRAND is intended to provide wide                          what is “most reasonable”. Rather, the appeals
 latitude to be resolved by individual parties in                    court engages in a deferential review, asking
 individual negotiations (as SSOs have repeat-                       only whether the jury’s award falls outside the
 edly stated), two questions naturally arise:                        range of what could be considered reasonable
 (1) Does a FRAND commitment really mean                             (Micro Chem., Inc. v Lextron, Inc.; Rite-Hite
 anything at all? and, (2) Who decides what it                       Corp v Kelley Co., Inc.; Monsanto Co. v Ralph)19
 means? The answer to the first question is “yes”,                   Similarly, European courts20 use a “going rate”
 and the two questions are importantly related.                      or benchmarking method to identify a range
 It is only by careful attention to the question                     of reasonable royalty rates that can serve as
 of process, the question of “who decides, and                       the basis for the calculation of damages after
 how?”, that one can preserve both the intended                      a finding of patent infringement, and the trial
 reality and the intended flexibility of a FRAND                     court enjoys significant judicial discretion in
 commitment.                                                         its appraisal. Where a decision awarding dam-
       A legal dispute concerning compliance with                    ages is appealed, the task of the appeals court is
 a FRAND commitment is most likely to arise on                       not to determine ex novo what the “reasonable
 one of two ways. If an essential patent holder                      rate” and resulting damage award is, but only
 and a standard implementer18 are unable to agree                    to examine whether the lower court exceeded
 on licencing terms, the standard implementer,                       its considerable discretion in awarding reason-
 once accused of infringement, may simply wait                       able damages (Cour de Cassation (Ch. Comm.)
 and assert defensively that the IP owner has                        (France), Sté Ets Delaplace et Sté Sicma c. Sté
 failed to satisfy its obligation to offer fair and                  Van Der Lely; Sampson, 2007). 21
 reasonable terms, or possibly (depending on                              In the case of FRAND licencing, the initial
 the procedures available in a given jurisdiction)                   discretion as to what is “reasonable” is entrusted
 could seek a determination through a breach of                      to the negotiating parties or, in the absence of
 contract action that FRAND terms have not been                      agreement, to the IP owner. If the would-be
 offered, and an order requiring compliance with                     licencee “appeals” to a court, that court’s task is
 that obligation (Geradin & Rato, 2007, p. 119).                     comparable to that of the appeals court in the US
       As we have seen, however, a court con-                        and European patent systems. And, as the party
 fronting such a claim radically misunderstands                      advancing the proposition that specific offered
 the FRAND commitment that the IP owner has                          terms fall outside the range of reasonableness
 made, and misunderstands the court’s own role,                      and thus do not satisfy the FRAND commit-
 if it seeks to answer the question “What is the                     ment, one would expect that the burden of proof
 reasonable royalty for this IPR?” In agreeing                       would rest with the potential implementer. This
 to licence on FRAND terms, the IP owner has                         allocation of burden is perhaps all the more rea-
 not agreed to constrain its licencing terms more                    sonable given that, even with this “procedural
 tightly than the “range of reasonableness”. Thus,                   safeguard” against aggressive manufacturers,
 if an offer has been made and refused, then the                     the FRAND commitment represents a very
 only contractual question to be adjudicated is                      significant concession by the IPR owner as
 whether the terms offered, taking into account                      compared to the pre-existing statutory right to
 all of the specific circumstances between the                       exclude inherent in its patent.
 parties and prevailing market conditions, fall                           In order to determine whether offered terms
 outside the range of reasonableness contem-                         and conditions pass this “range of reasonable-
 plated by the FRAND commitment.                                     ness test”, while there can be no mathematical


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       238
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 73 of 156

    12 International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011


    rules, there is no reason that courts should not                    litigated often represent the most influential
    make use of analytical tools already existing                       factor in determining “reasonableness” under
    in the law. For instance, while the question of                     the Georgia-Pacific framework, and should
    what is “reasonable” continues to be a flexible                     arguably have the same role in the context of
    inquiry, the much-cited Georgia-Pacific case                        FRAND litigation.
    identifies a (non-exhaustive) list of 15 specific
    factors that US courts routinely consider,22 and                    B. FRAND Commitments and
    the factors from the Georgia-Pacific list have                      Challenges to Executed Licenses
    been invoked as useful in other jurisdictions.
    Interestingly, in one discussion paper created                      If a would-be licencee refuses offered terms and
    by the ETSI General Assembly Ad Hoc Group                           objects that those terms do not satisfy the patent
    in 1993, the reporters (themselves representa-                      owner’s agreement to offer FRAND terms and
    tives of RIM, not a US corporation) wrote that                      conditions, then the court must undertake the
    “If one were to read the important “Georgia-                        analysis discussed above. However, after the
    Pacific” case cited in United States law as a                       parties have negotiated and executed a licence
    method to determine a “reasonable royalty”,                         agreement, a complaint by the licencee that the
    it can readily be seen to be a test that closely                    terms of that licence are not FRAND presents
    parallels the concept of “fair, reasonable, and                     very different issues.
    non-discriminatory” license obligations” (ETSI                            While the doctrinal description will differ
    GA/IPR02(03)05 1).                                                  in different jurisdictions, the point is not com-
         Of course other important jurisdictions                        plicated: It cannot be proper for a party, aware
    use different language, but we believe that they                    of rights it is entitled to claim under an existing
    fundamentally agree that, when a court must                         contract (here, the FRAND commitment), to
    determine a royalty rate, it may and should                         negotiate and sign a licence, enjoy the benefit
    consider the wide range of information that                         of that licence for as long as it pleases, and then
    would be relevant to a business decision-maker                      collaterally attack the licence as unenforceable
    confronting the same question (General Tire                         (and perhaps claim past damages) on the theory
    & Rubber Co. v Firestone Tyre & Rubber Co.;                         that the licence terms violated the preceding
    Cofrinex v Helary; German Patent Act, Sec.                          contractual commitment. Within the Common
    139 Para. 2).23 Similarly, we believe that non-                     Law tradition, this is a result of the doctrine of
    US jurisdictions can also find within their own                     integration (Restatement (Second) of Contracts
    structures examples of the type of deferential                      (1981) § 213),26 or alternatively of the rule that,
    review that is appropriate where a court is tasked                  even in the absence of complete integration, a
    not to decide what the “right” answer is, but                       collateral contract may not be used to contradict
    to decide whether terms offered fall entirely                       the terms of a subsequent agreement (Lord,
    outside the range of possibility contemplated                       2009, § 33:26).27
    by the word “reasonable” (Flint v Lovell).24                              An extremely important economic truth
         Not all of the Georgia-Pacific factors                         underlies this principle. It is widely understood
    will necessarily be relevant to the question of                     that uncertainty itself imposes an economic cost;
    whether proffered licence terms are within the                      accordingly, businesses often use the “stabiliz-
    range of reasonableness, and peculiarities of a                     ing force of contracts” to reduce or eliminate
    particular industry or standardised industries                      unpredictability (NRG Power Marketing v
    in general may properly enter into the equa-                        Main Public Utilities). For this reason, com-
    tion. Nevertheless, a court may well find that                      panies commonly negotiate long-term licence
    the Georgia-Pacific list provides a useful                          agreements at fixed royalty rates, giving the
    framework or starting point for the inquiry.25                      two parties predictability as to revenues and
    Notably, royalties received under prior and                         costs, respectively. As the US Supreme Court
    existing licences for the very patents being                        has explained, “Markets are not perfect, and



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    239
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 74 of 156

     International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011 13


 one of the reasons that parties enter into . .                      attributable to the uncertainty surrounding the
 . contracts is precisely to hedge against the                       strength and value of untested patents (Lemley
 volatility that market imperfections produce”                       & Shapiro, 2007).
 (Morgan Stanley Capital Group, Inc. v Public                             Shapiro points out that, in light of these
 Utility District 1 of Snohomush County, p. 2746).                   facts, what is “fair and reasonable” in the con-
 Private parties are of course free to negotiate                     text of an offer to licence patents that have not
 short-term licence agreements, or agreements                        been tested in litigation should be something
 under which the royalty rate is subject to frequent                 lower than would be awarded after adjudica-
 re-negotiation, or periodic modification based                      tion of infringement and validity, because of
 on some external criteria. But they don’t do this,                  the uncertain strength of the patents (Farrell,
 precisely because predictability is extremely                       2007). But the reverse is equally true: After
 important to many aspects of the conduct of                         a patent has been tested and the uncertainty
 a business, including, e.g., decisions about                        eliminated, then what is “fair and reasonable”
 investments in research and development. As a                       no longer needs to include any “uncertainty
 result, uncertainty relating to “contract sanctity                  discount”, and should be substantially higher
 can have a chilling effect on investments and                       than would have been the case pre-litigation.
 a seller’s willingness to enter into long-term                           This “that was then, this is now” aspect
 contracts and this, in turn, can harm customers                     of FRAND is not only theoretically correct, it
 in the long run” (Morgan Stanley Capital Group,                     stands as a critically important deterrent to ex-
 Inc. v Public Utility District 1 of Snohomush                       cessive litigation. Lemley and Shapiro have also
 County, p. 2749 (quoting Market Based Rates,                        noted that, in the ordinary licencing context, the
 para. 6, 72 Fed. Reg. 33906-33907). Yet, a rule                     risk of injunction and complete exclusion from
 that would permit a licencee to collaterally attack                 the market motivates prospective infringers to
 a licence agreement—potentially years after                         obtain a licence instead of litigating (Lemley
 the fact—on the theory that its terms violate                       & Shapiro, 2005). However, if an infringer of
 a prior FRAND commitment, would make it                             essential patents is entitled to the same terms
 impossible for licencing parties to negotiate                       after unsuccessful litigation as he was entitled
 for long-term predictability.                                       to before, then this incentive disappears; the
                                                                     infringer will have strong incentives to liti-
 C. What Is “Fair and Reasonable”                                    gate even a weak case in the hopes of “getting
 Will Be Higher After Adjudication                                   lucky” with an invalidity or non-infringement
 of Infringement and Validity                                        ruling, and will face no downside risk beyond
                                                                     attorneys” fees. The former Chief Judge of the
 US courts and commentators routinely recog-                         Federal Circuit has noted exactly this incentive
 nize that a “reasonable royalty” will be higher                     problem in the context of Georgia-Pacific roy-
 after a patent has been held valid and infringed                    alty determinations, explaining that an infringer
 in court than it was before that adjudication.28                    who, after unsuccessful litigation, “could count
 Providing empirical and theoretical support                         on paying only the normal, routine royalty
 for this judicial view, Lemley and Shapiro                          non-infringers might have paid . . . would be
 have demonstrated that nearly half of patents                       in a “heads-I-win, tails-you-lose” position”
 litigated to a final determination in the US are                    (Panduit Corp v Stahlin Bros. Fibre Works,
 held invalid, while a significant number of                         1978, p. 1158). Thus, a static definition of “fair
 those held valid are held to be not infringed                       and reasonable” unaffected by litigation would
 (Lemley & Shapiro, 2005, 2007). They report in                      expose FRAND declarants to a much greater risk
 a later paper that average “reasonable royalty”                     of non-meritorious litigation than faces parties
 damage awards set rates more than double esti-                      unconstrained by FRAND. It is unlikely that
 mated average negotiated patent royalties, and                      any standards-setting organization intended,
 conclude that this difference is at least in part                   by requiring FRAND declarations, to create


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       240
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 75 of 156

    14 International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011


    this perverse incentive to attack rather than to                    claim for unlawful conspiracy under Section 1
    pay for the intellectual property of its members.                   of the Sherman Act (Vizio Inc. v Funai Elec.,
                                                                        2010). Of course, the details of such approaches
    D. “Durable FRAND”: Can                                             must be worked out within the legal doctrines
    FRAND Commitments Survive                                           of particular jurisdictions.
    the Sale of Patents?                                                     The draft Horizontal Cooperation Guide-
                                                                        lines provide that, in order to fall outside the
    Some commentators have raised the spectre                           scope of the prohibition contained in Article
    that to acknowledge the contractual nature of a                     101(1) of the Treaty on the Functioning of
    FRAND commitment could enable such a com-                           the European Union (which prohibits anti-
    mitment once made to be evaded by selling the                       competitive agreements), all SSOs should re-
    patent to a third party. However, despite decades                   quire that members (who under the Guidelines
    of SSO operation in reliance on contractual                         proposed structure would be subject to manda-
    FRAND commitments, the only three instances                         tory FRAND obligations) “take all necessary
    we are aware of in which a purchaser of patents                     measures to ensure that any [entity] to which
    has claimed not to be bound by a prior FRAND                        the IPR owner transfers its IPR . . . is bound
    (or similar) commitment are (a) the position                        by that commitment” (Horizontal Guidelines,
    taken but more recently abandoned by IPCom                          para. 286). Given the experience and theory
    in connection with patents purchased from                           reviewed above, this requirement would pos-
    Bosch,29 (b) N-Data’s attempt to ignore a prior                     sibly be harmless, but certainly addresses a
    owner’s agreement to license certain essential                      “problem” which thus far has been solvable
    patents for $1000 (N-Data Complaint, 2008,                          with existing legal tools.
    para 28),30 and (c) an effort by Funai Electronic
    Co. to charge “non-FRAND” royalties for pat-
    ents purchased from Thomson Licensing (Vizio                        4. Non-Discrimination: The
    Inc. v Funai Elec, 2010).                                           Other Half of FRAND
         None of these efforts appear to have suc-
    ceeded, and more than one theory provides                           We have focused in this paper on the “fair and
    protection against “FRAND evasion” while                            reasonable” component of FRAND, because
    respecting the contractual nature of a FRAND                        the meaning of “fair and reasonable” has at-
    commitment. First, an argument can be made                          tracted far more controversy than the meaning of
    that, given the on-line publication of FRAND                        “non-discriminatory”. But important questions
    declarations by major SSOs and the sophis-                          remain in this area as well. Most significantly,
    tication of participants in such industries, a                      one may ask whether the “ND” in FRAND re-
    purchaser of a patent which has been made                           ally adds any obligation as a practical matter,
    subject to a FRAND declaration takes with either                    or whether it is instead a platitude that imposes
    actual or constructive notice of that declaration                   no obligations over and above what the com-
    and can be presumed to have negotiated a price                      petition law of most jurisdictions – such as the
    taking that “encumbrance” into account, and                         Robinson Patman Act in the United States or
    should therefore be equitably estopped from                         Article 102(c) of the Treaty on the Function-
    asserting the patent in a manner inconsistent                       ing of the European Union – would require in
    with that undertaking. This was essentially the                     any case. Or, conversely, one may ask whether
    result reached by the FTC in the N-Data case                        the “ND” imposes the same sort of obligations
    (Federal Trade Commission, 2008). Second,                           that are created by the type of “Most Favoured
    the court in Vizio v. Funai held that an allega-                    Licensee” (MFL) clause that parties commonly
    tion that Thomson sold patents to Funai as                          include in licenses by agreement.
    part of an intentional “scheme to circumvent                             Perhaps because it has not been at the
    Thomson’s FRAND commitment” stated a                                centre of much controversy, we have found far



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    241
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 76 of 156

     International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011 15


 less documentary history in the ETSI archives                       B. “Non-Discriminatory” Is
 relating to the meaning “non-discriminatory”                        Not the Equivalent of a “Most
 than exists with regard to the meaning of “fair                     Favoured Licensee” Guarantee
 and reasonable”, but there is enough to offer a
 few observations about the “intent of the par-                      Interestingly, the first IPR Policy adopted
 ties” with respect to “non-discriminatory” in                       by ETSI – the 1993 policy adopted but then
 the ETSI context.                                                   withdrawn amidst controversy, as reviewed
                                                                     previously (in section II(C), above) – went
 A. The ETSI IPR Policy Was In                                       beyond the “non-discriminatory” requirement
 Significant Part Designed to                                        inherited from the ISO precedent by includ-
 be “Non-Discriminatory” as to                                       ing, as part of an “Undertaking” that each
 Nationality and Membership-                                         member was to sign, what was in essence a
 Based Discrimination                                                rather straight-forward “MFL” requirement,
                                                                     requiring that licenses (at least licenses to
 It is clear that from the start, one class of “dis-                 other parties to the Undertaking)
 crimination” about which ETSI and stakehold-
 ers were concerned was classic protectionist
                                                                     “include a clause requiring the licensor to
 discrimination, which might erect “barriers to
                                                                     promptly notify a licensee of any license
 trade” (ETSI/GA11(91)8),31 and even violate
                                                                     granted by the it to a third party for the same
 the then called “GATT obligations” of the
                                                                     IPRs under comparable circumstances giving
 European Community member states (ETSI/
                                                                     rise to terms and conditions that are clearly
 GA12(92)TD 16 3; ETSI/GA12(92)TD 3 2;
                                                                     more favourable, in their entirety, than those
 ETSI/IPR/GA(92)TD 5 3).32 Emphasis was also
                                                                     granted to the licensee and allowing the
 put on the need to ensure that license terms did
                                                                     licensee to require replacement of the terms
 not discriminate in favour of ETSI members
                                                                     and conditions of its license, in their entirety,
 and against non-members (ETSI/GA12(92)
                                                                     either with those of the third party license, or
 TD 19 5; ETSI/IPR/GA(92)TD5 3; ETSI/
                                                                     with such other terms and conditions as the
 GA14(92)TD 20 3).33 These goals were stated
                                                                     parties may agree” (“ETSI Intellectual prop-
 repeatedly during the development of the initial
                                                                     erty Rights Undertaking”, ETSI/GA15(93)TD
 ETSI IPR policy, and attracted no significant
                                                                     25 para 3.1) (emphasis added).
 disagreement then or in later disputes about
 IPR policy within ETSI, so far as we find in the
 records. It is also the case that we do not find                         However, the IPR policy that was finally
 any sign in these records – nor are we aware                        adopted and made effective in 1994 did not
 from any other source – of any later incident                       include the undertaking, nor anything similar
 in which an ETSI member was alleged to have                         to the MFL requirement quoted above, and
 discriminated in its licensing terms based on                       we find no suggestion in the records of dis-
 the nationality of the licensee, or based on its                    cussions of IPR policy within ETSI, at any
 status as a non-member of ETSI. Whether credit                      time after the rescission of the 1993 policy,
 belongs to the “non-discriminatory” clause of                       that any member argued that the “notice”
 the FRAND commitment or to market forces                            and “substitution of terms” rights that had
 is an open question—although one suspects                           been contained in the Undertaking remained
 the latter, since where rules and market forces                     implicit in the “non-discriminatory” require-
 are at odds, one would expect to find telltale                      ment. Given this history, we conclude that any
 signs of ongoing controversy and “cheating”.                        attempt to equate the “non-discriminatory”
 Be that as it may, in the case of ETSI standards,                   component of an ETSI FRAND commitment
 these leading goals of the “non-discrimination”                     with thoroughgoing “Most Favoured Licensee”
 requirement appear to have been achieved.                           obligations would be mistaken as a matter of
                                                                     intent-based contract interpretation.


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       242
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 77 of 156

    16 International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011



    C. “Non-Discriminatory” Does                                        Conclusion
    Not Require Identical Terms
                                                                        The effort to conflate a contractual FRAND
    In fact, when the ETSI membership turned to                         commitment with either idealized economic
    developing the replacement policy that was                          theory or the competition law of any jurisdiction
    ultimately adopted in 1994, the conversation                        is ill-conceived. In short, a FRAND commit-
    turned in quite a different direction. Where                        ment and the limitations that competition law
    the Undertaking had specified that similarly                        may impose on intellectual property rights are
    situated licensees had a right to identical terms,                  simply two separate things, and intellectual clar-
    the final text of the “Common Objective” docu-                      ity requires that each be considered in its own
    ment annexed to the final report of the Special                     right, and according to the analytical methods
    Committee on IPR stated, under the heading                          appropriate to it.
    “Concerns about most favoured licensee provi-                             Our research shows that, if a FRAND com-
    sion,” that while “License terms and conditions                     mitment is taken seriously as a contract – as it
    should be non-discriminatory,” “this does not                       should be – then efforts to look to FRAND as
    necessarily imply identical terms”. Instead,                        a source of cumulative royalty caps, particular
    under the heading “Commercial freedom”, the                         formulas for calculating or apportioning roy-
    document asserted, “Licensing terms and con-                        alties, or limitations on remedies against unli-
    ditions should allow normal business practices                      censed infringers are not only without basis,
    for ETSI members. ETSI should not interfere                         but are contradicted by the ordinary methods
    in licensing negotiations” (ETSI/GA 20(94)2                         of contract interpretation.
    (SC Final Report), ANNEX XII). Indeed, in
    subsequent discussion in which the members of
    the Special Committee were divided into four                        References
    groups to report views on various issues, three
    out of the four groups reported agreement that                      ANSI. (1959). ANSI Patent Policy. Retrieved from
    non-discriminatory “does not necessarily imply                      http://publicaa.ansi.org/sites/apdl/Reference%20
                                                                        Documents%20Regarding%20ANSI%20Patent%20
    identical terms”, and the fourth group did not                      Policy/02-Apr1959%2011.6PatentsASA.pdf
    comment on that topic (ETSI/GA 20(94)2 (SC
    Final Report), ANNEX XVIII, at 4-5).                                ANSI. (2006, June). Activities Related to IPR and
         The sum of these observations is not dra-                      Standards. Paper presented to the Global Standards
                                                                        Collaboration -11, IPR Working Group Meeting,
    matic. One the one hand, the “non-discriminato-                     Chicago.
    ry” component of FRAND is more than merely
    an affirmation of national competition law,                         ANSI. (2010). ANSI Essential Requirements.
                                                                        Retrieved from http://publicaa.ansi.org/sites/apdl/
    because such law may indeed permit outright
                                                                        Documents/Standards%20Activities/American%20
    discrimination in certain circumstances – for                       National%20Standards/Procedures,%20Guides,%20
    example, in favour of exclusive or preferred                        and%20Forms/2010%20ANSI%20Essential%20
    distributors.34 On the other hand, in the case of                   Requirements%20and%20Related/2010%20
    ETSI at least,35 “ND” clearly means less than a                     ANSI%20Essential%20Requirements.pdf
    Most Favoured Licensee clause, with an MFL                          ANSI. (n.d.). Domestic Programs (American Na-
    clause having been explicitly repealed, and                         tional Standards Overview). Retrieved from http://
    comment at the time of adoption of the present                      www.ansi.org/standards_activities/domestic_pro-
    policy signalling an intention to leave members                     grams/overview.aspx?menuid=3
    wide flexibility in agreeing to particular terms                    Case C-336/07 Kabel Deutschland [2008] ECR
    with particular licensees depending on the                          I-10889 para 46.
    commercial circumstances.




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    243
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 78 of 156

     International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011 17


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       244
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 79 of 156

    18 International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011


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                                                                                 Damien Geradin has published a series of
    (1) Clogeau St Davids Gold Mines [2003] F.S.R. 19.                           articles in combination with other authors,
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    Property, 9.                                                                 nomic analysis, but instead merely reflected
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                                                                                 Abuse? A Dissonant View on Patent Hold-
    Stickle v Heublein, Inc. 716 F 2d 1550, 1563 [Fed                            up, Royalty-Stacking and the Meaning of
    Cir 1983].


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    245
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 80 of 156

     International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011 19


         FRAND” (2007) 3 European Competition                                 ANSI Activities Related to IPR and Standards,
         Law Journal 101.                                                     submitted to the Global Standards Collabora-
 2
         In the Qualcomm case, six firms active in                            tion, IPR Working Group Meeting, Chicago,
         the mobile phone equipment sector filed                              June 2006 (GSC11/IPRWG(06)10) at p.4.
         complaints with the European Commission                     5
                                                                              Section 8 of the ETSI IPR Policy contains
         in the latter part of 2005 alleging that Qual-                       a mechanism for dealing with the “non-
         comm’s licensing terms and conditions for                            availability of licences” including a member’s
         its patents essential to the WCDMA standard                          refusal to licence on FRAND terms. Where
         did not comply with Qualcomm’s FRAND                                 an IPR owner informs ETSI of such a refusal
         commitment and, therefore, breached EU                               prior to the publication of a standard, the
         competition rules. “Commission initiates                             General Assembly first tries to find a “viable
         formal proceedings against Qualcomm”,                                alternative technology”. If none exists, and
         Memo/07/389, (1 October 2007), available at                          the IPR owner refuses to reconsider its posi-
         http://europa.eu/rapid/pressReleasesAction.                          tion, there is a procedure for ETSI to decide
         do?reference=MEMO/07/389. After a long                               whether ETSI “should pursue development
         and thorough investigation, the Commission                           of the concerned parts of the STANDARD
         eventually decided to close its formal proceed-                      or a TECHNICAL SPECIFICATION based
         ings against Qualcomm. “Commission closes                            on the non-available technology and should
         formal proceedings against Qualcomm”,                                look for alternative solutions.” (§ 8.1.3)
         MEMO/09/516, (24 November 2009).                                     Similarly, ANSI has said that under the ANSI
 3
         J Miller, “Standard Setting, Patents, and                            Patent Policy, if “[licensing] assurances are
         Access Lock-In: RAND Licensing and the                               not forthcoming or if potential users can
         Theory of the Firm” (2007) 40 Indiana Law                            show that the policy is not being followed,
         Review 351 (“The RAND promise, embedded                              the standard may be withdrawn either by the
         in SSO bylaws to which participants agree,                           consensus committee or through the appeals
         is primarily a matter of contract law.”); M                          process.” GSC11/IPRWG(06)10 at p.5.
         Lemley, “Intellectual Property Rights and                   6
                                                                              The intent of the parties also plays a funda-
         Standard-Setting Organizations” (2002) 90                            mental role in the interpretation of contracts in
         California Law Review 1889, 1909 (“SSO                               Civil Law systems. See, for instance, Article
         IP rules have legal significance only to the                         1156 of the French Civil Code whereby the
         extent they are enforceable. Because the IP                          judge must search for the intent of the parties
         policies are at base agreements by members                           when the contract was concluded or modified.
         of the SSO to abide by certain rules regarding                       Under this provision, the “subjective intent”
         IP ownership, their enforceability is initially                      of the parties (“what they really meant”) is
         a question of contract law.”).                                       more important than the literal language of
 4
         Section 6.1 of ETSI’s IPR policy provides                            the contract itself.
         that when essential IPR is disclosed, ETSI                  7
                                                                              See for instance Case C-336/07 Kabel
         will request—but not oblige—the owner of                             Deutschland [2008] ECR I-10889 para 46
         the IPR to undertake in writing that it is pre-                      (discussing the notion of “reasonable” “must
         pared to grant irrevocable licences on FRAND                         carry” obligations that may be imposed by EU
         terms and conditions, and as such to waive                           Member States upon cable operators on the
         its right to refuse to offer a licence to those                      basis of the Universal Service Directive).
         seeking one. Under the ANSI Patent Policy,                  8
                                                                              Not all standard implementers seeking to
         “disclosure may be made by a patent holder                           obtain a license from a given essential patent
         or third party with actual, personal knowledge                       holder will be similarly situated. Generally,
         of relevant patents. Once such a disclosure is                       a range of variables will traditionally be
         made, ANSI requires a written statement in                           negotiated between licensors and licensees,
         order to determine whether the patent holder                         all of which may be of appreciable value,
         will provide licenses (a) on reasonable and                          such as cross-licencing, volume of licensed
         non-discriminatory (“RAND”) terms and                                products, exhaustion of patent rights, technol-
         conditions or (b) on a compensation-free                             ogy transfer, technical support, upfront fees,
         basis (that may include other RAND terms                             jurisdiction, scope of license (eg, products,
         and conditions). If the patent holder submits                        territory, have made rights, etc.), possible
         a patent statement to the effect of either (a) or                    product purchases, the formation of broader
         (b) above, then this creates a commitment by                         business relationships and cooperation, etc.
         the patent holder and third-party beneficiary                        Granting a license cannot be confused with
         rights in implementers of the standard.” ANSI,                       selling a product at a standard price (which



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       246
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 81 of 156

    20 International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011


            would be the royalty). Because licensors and li-                     at the 11th ETSI General Assembly meeting
            censees seek to exchange a potentially diverse                       in 1991.
            assortment of “value” (the royalties being just             12
                                                                                 Enclosure to letter dated 29 October 1992
            one possible elements of consideration), any                         from CCITT to Eurobit.
            interpretation of a FRAND commitment as                     13
                                                                                 For example, an ETSI Special Committee on
            “dictating or specifying a particular licencing                      IPR appointed in 1994 to propose provisions
            result” would prove a Procrustean bed.                               for an IPR policy included representatives of
    9
            In this respect, FRAND is very much akin to a                        AT&T, Bosch, IBM, Motorola, Nokia, Philips,
            general clause, albeit a contractual one. “Gen-                      and Siemens, in addition to a number of less
            eral clauses or standards (‘Generalklauseln’,                        multi-national corporations. See ETSI/GA
            ‘clauses générales’) are legal rules which are                       20(94)2, ANNEX IV, at 89.
            not precisely formulated, terms and concepts                14
                                                                                 For example, IBM called the proposal “a
            which in fact do not even have a clear core.                         source of deep divisions within the ETSI
            They are often applied in varying degrees in                         membership” and stated that for “many
            various legal systems to a rather wide range                         members it is the company’s strategic as-
            of contract cases when certain issues arise                          sets and policies which are at stake”. ETSI/
            such as abuse of rights, unfairness, good faith,                     GA15(93)26. IBM said “IBM has to evaluate
            fairness of duty or loyalty or honesty, duty of                      now its future involvement in ETSI”. ETSI/
            care, and other such contract terms not lend-                        GA15(93)6. Other companies said words to
            ing themselves readily to clear or permanent                         the same effect. ETSI/GA15(93)23.
            definition.” S Grundmann & D Mazeaud (eds),                 15
                                                                                 “ETSI received between 12-14 letters from
            General Clauses and Standards In European                            parties . . . who threatened to pull out of
            Contract Law – Comparative Law, EC Law                               ETSI if it implemented the 1993 Policy.” E
            and Contract Law Codification” (2006).                               J Iversen, “Standardization and Intellectual
    10
            For instance, nothing can be read in such                            Property Rights: ETSI’s controversial search
            extracts as suggesting that FRAND imposes                            for new IPR-procedures” (September 1999)
            any specific and concrete obligations on the                         (Paper presented at the first IEEE conference
            owner of standard essential patents with regard                      on standardisation and innovation in informa-
            to the actual level of royalties or any other                        tion technology, Aachen, Germany).
            terms and conditions provided for in licencing              16
                                                                                 The threats of participants such as IBM to
            agreements. Nokia’s Vice President for Intel-                        withdraw from ETSI, and the Chairman’s
            lectual Property Rights, Dr. Ilkka Rahnasto,                         comment quoted above, raise the interesting
            makes a similar observation. He explains that                        point that an SSO—even an SSO such as ETSI
            “the [FRAND] rule leaves the determination                           which has been granted a supposed monopoly
            of exact terms for the parties to decide. This                       position by law or regulation—does not have
            case-by-case determination allows parties to                         an unconstrained ability to set restrictive
            a particular licencing transaction to find their                     IPR policies. Development of successful
            own interpretation of ‘fair and reasonable’.”                        next-generation standards in high technology
            I. Rahnasto, Intellectual Property Rights,                           fields can only be accomplished through the
            External Effects and Anti-trust Law (OUP,                            intensive efforts of the industry leaders, and
            2003) 4.105. He further adds: “In connection                         unpalatable SSO IPR policies may cause key
            with standardization, the term “fair and rea-                        players to channel those efforts through other
            sonable” is usually understood as a reference                        SSOs. See also Communication of the Com-
            to the economic reality. Generally, a licence                        mission “Modernising ICT Standardisation in
            is fair and reasonable if the terms would be                         the EU - The Way Forward” (3 July 2009) Com
            acceptable in arm’s-length-negotiations.”                            (09) 324 final para 1 (noting the emergence of
            Ibid 6.34. “Fair and reasonable” licencing                           global fora and consortia as “world-leading
            terms would therefore consist of those terms                         [Information and Communication Technol-
            determined through fair, bilateral negotiations                      ogy] standards development bodies,” and
            between individual IPR owner and standard                            stating that “the EU risks becoming irrelevant
            implementer in accordance with the market                            in ICT standard setting”).
            conditions prevailing at the time of such                   17
                                                                                 For a discussion of this proposal and the nega-
            negotiations.                                                        tive impact it would have had, see D Geradin,
    11
            We use the ETSI nomenclature to identify                             “Standardization and Technological Innova-
            ETSI documents. Thus, this ETSI Technical                            tion: Some Reflections on Ex-ante Licensing,
            Assembly (“TA”) document was attached to                             FRAND, and the Proper Means to Reward
            “Temporary Document” number 20, submitted                            Innovators” (2006) 29 World Competition 511.



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    247
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 82 of 156

      International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011 21


 18
         The intended beneficiaries of a FRAND dec-                  23
                                                                              General Tire & Rubber Co. v Firestone Tyre
         laration appear to be any parties who wish to                        & Rubber Co. [1975] F.S.R. 273 (H.L) (“[E]
         perform actions identified in Paragraph 6 of                         vidence may consist of the practice, as regards
         the ETSI IPR Policy with respect to a standard-                      royalty, in the relevant trade or in analogous
         compliant product. This includes those who                           trades; perhaps of expert opinion expressed
         wish to “manufacture, including the right to                         in publications or in the witness box; possibly
         make or have made customized components                              of the profitability of the invention; and any
         and sub-systems to the licensee’s own design                         other factor on which the judge can decide
         for use in manufacture”. The ability of intended                     the measure of loss.”); Sec. 139 Para. 2 Ger-
         third party beneficiaries of a contract to en-                       man Patent Act (royalty rate of a hypothetical
         force their rights under that contract is well                       license agreement must be determined in the
         recognized within the Common Law Tradi-                              light of all relevant circumstances).
         tion, while Civil Law jurisdictions provide                 24
                                                                              Flint v Lovell [1935] 1 K.B. 354 (CA) (Greer,
         comparable enforcement rights under (in the                          L.J.) (explaining that an award of damages is
         case of France, for example) the doctrine of                         reversible only if “the amount awarded [is]
         “stipulation pour autrui”. Fr. Civil Code Art.                       an entirely erroneous estimate of the damage
         1121.                                                                to which the plaintiff is entitled”).
 19
         Micro Chem., Inc. v Lextron, Inc. 317 F 3d                  25
                                                                              At least one US court has adopted the Georgia-
         1387, 1394 [Fed Cir 2003] (discussing the                            Pacific factors to assess the reasonableness
         differences between the experts” opinions                            of a licencing offer challenged on FRAND
         regarding royalty rates and affirming jury’s                         grounds. ESS Tech., Inc. v PC–Tel, Inc., No.
         determination as reasonable); Rite-Hite Corp                         C-99-20292, 2001 WL 1891713, 3–6 [N.D.
         v Kelley Co., Inc. 56 F 3d 1538, 1554-55 [Fed.                       Cal. Nov. 28, 2001].
         Cir. 1995] (noting range of possible royalties              26
                                                                              “(1) A binding integrated agreement discharges
         and affirming lower court’s determination of                         prior agreements to the extent that it is incon-
         royalty rate as reasonable); Monsanto Co. v                          sistent with them. (2) A binding completely
         Ralph 382 F 3d 1374, 1383 [Fed. Cir. 2004]                           integrated agreement discharges prior agree-
         (giving deference to jury’s determination of                         ments to the extent that they are within its
         royalty rate based on expert testimony regard-                       scope. (3) An integrated agreement that is not
         ing Georgia-Pacific factors).                                        binding or that is voidable and avoided does
 20
         It must, however, be noted that in Europe,                           not discharge a prior agreement. But an inte-
         by contrast with the United States, injunctive                       grated agreement, even though not binding,
         relief is considered the primary remedy for                          may be effective to render inoperative a term
         patent infringement, over and above mon-                             which would have been part of the agreement
         etary compensation. Moreover, any damages                            if it had not been integrated” (Restatement
         awarded must only be compensatory in nature                          (Second) of Contracts (1981) § 213).
         and may not have a punitive character. For                  27
                                                                              RA Lord 11 Williston on Contracts (4th ed
         these reasons, many cases are settled out of                         2009) § 33:26 (“[E]vidence of a collateral
         court after a finding of patent infringement                         agreement is not barred by the parol evidence
         and the existing case law on the calculation                         rule if such evidence does not contradict the
         of damages is therefore very sparse.                                 written contract.”).
 21
         Cour de Cassation (Ch. Comm.) (France),                     28
                                                                              See for example Maxwell v J. Baker, Inc. 86 F
         Sté Ets Delaplace et Sté Sicma c. Sté Van                            3d 1098, 1109-10 [Fed. Cir. 1996] (“[T]hat an
         Der Lely, 19 February 1991, [1991] Annales                           infringer had to be ordered by a court to pay
         de la Propriété Industrielle, 4 (noting that the                     damages, rather than agreeing to a reasonable
         lower court had correctly exercised its judicial                     royalty, is also relevant” to “an amount suf-
         discretion in determining the royalty rate serv-                     ficient to adequately compensate the patentee
         ing as the basis for damages after a finding                         for the infringement”); Stickle v Heublein, Inc.
         of patent infringement). See also the example                        716 F 2d 1550, 1563 [Fed. Cir. 1983]; Endress
         given of a “notional” royalty rate set by the                        & Hauser, Inc. v Hawk Measurement Sys.
         UK Court of Appeal in a copyright case: Nigel                        Pty. Ltd. 892 F. Supp 1123, 1130 [S.D. Ind.
         Christopher Blayney (t/a Aardvark Jewellery)                         1995] (“Although courts employ the “willing
         v (1) Clogeau St Davids Gold Mines [2003]                            licensor/willing licensee” model as the basis
         F.S.R. 19.                                                           for determining a reasonable royalty, they do
 22
         The non-exhaustive list of 15 factors identified                     so with the understanding that a “reasonable”
         by the Georgia Pacific court is provided in                          royalty after infringement is likely to be higher
         the Appendix.                                                        than that arrived at between truly willing pat-



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       248
Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 83 of 156

    22 International Journal of IT Standards and Standardization Research, 9(1), 1-23, January-June 2011


            ent owners and licensees.”); V. E. O’Brien,                          IPR/GA(92)TD 5 3 (Statement of Commis-
            “Economics & Key Patent Damages Cases”                               sion Representative emphasizing that, under
            (2000) 9 University of Baltimore Intellectual                        the Technical Barriers to Trade Agreement,
            Property 1, 19 & 20 n.70 (observing that “the                        “the parties to that Agreement are entitled to
            hypothetical negotiation already has a built-                        treatment equal to that given to Community
            in bias toward a royalty rate that is higher                         nationals and to equal treatment as between
            than those observed in practice” and that the                        one another.”).
            Federal Circuit often sustains awards “based                33
                                                                                 See ETSI/GA12(92)TD 19 5 (Submission of
            on a royalty several times that observed in the                      the Chairman of the ETSI Technical Assembly,
            real world”).                                                        asserting that, under the then-proposed policy,
    29
            For a discussion of the dispute see “Antitrust:                      “In particular members and non members
            Commission welcomes IPCom’s public                                   within the Community are treated the same.”);
            FRAND declaration”, MEMO/09/549, Brus-                               ETSI/IPR/GA(92)TD5 3 (Statement of the
            sels (Dec. 10, 2009) (European Commission                            Commission of the European Communities
            welcoming “the public declaration by German                          (“CEC”) noting that “there is the question
            IP licensing company IPCom, following dis-                           of the position of non-ETSI members”, and
            cussions with the Commission, that it is ready                       asserting that “standards, including IPR’s,
            to take over Bosch’s previous commitment to                          must be available to all potential users within
            grant irrevocable licenses on fair, reasonable                       the Community on equivalent or comparable
            and non-discriminatory (FRAND) terms to                              terms . . . .”); ETSI/GA14(92)TD 20 3 (Letter
            patents held by IPCom which are essential for                        of the CEC to ETSI stating, “The Commission
            various standards set by the European Tele-                          considers that non-members of ETSI should
            communications Standard Institute (ETSI)                             not receive less favourable terms merely
            and Universal Mobile Telecommunications                              because they are not members.”).
            System (UMTS)”), http://europa.eu/rapid/                    34
                                                                                 See, e.g., Volvo Trucks N. Am., Inc. v. Reeder-
            pressReleasesAction.do?reference=MEMO                                Simco GMC, Inc., 546 U.S. 164 176 [2006]
            /09/549&format=HTML&aged=0&languag                                   (approving preferred dealership discounts);
            e=EN> accessed on Mar. 7, 2010.                                      E & L Consulting, Ltd. v. Doman Indus.
    30
            N-Data refers to NEGOTIATED DATA SO-                                 Ltd., 472 F.3d 23 29 [2d Cir. 2006] [a lower
            LUTIONS LLC.                                                         Federal court case] (“It is not a violation of
    31
            ETSI/GA11(91)8 was an agreement between                              the antitrust laws, without a showing of actual
            ETSI and the Standards Institution of Israel                         adverse effect on competition market-wide,
            approved at the 11th ETSI General Assembly                           for a manufacturer to . . . appoint an exclusive
            in 1991.                                                             distributor.” (internal quotation marks and
    32
            ETSI/GA12(92)TD 16 3 (expresses concerns                             citation omitted)).
            that ETSI standards “must in principle be                   35
                                                                                 However, in this respect the ETSI reading of
            made available on a national treatment basis                         “non-discriminatory” appears to be consistent
            in order to meet the Community’s international                       with that of ANSI, which has said explicitly
            obligations”); ETSI/GA12(92)TD 3 2 (ANSI                             that “RAND does not mean that each licensee
            submission expressing concern that “ETSI                             will receive exactly the same set of terms and
            members have the apparent ability to decline to                      conditions because other considerations (such
            license IPRs to certain manufacturers . . . based                    as reciprocal cross-licensing) may be a factor.”
            on the manufacturer’s country of residence or                        GSC11/IPRWG(06)10, at p.7.
            the origin of the manufactured goods”); ETSI/




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    at the University of Michigan Law School, and a partner at Howrey LLP.




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    is prohibited.
    249
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 84 of 156




                            EXHIBIT 15




250
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 85
                                                                58 of
                                                                   of 156
                                                                      102




251
635
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 86
                                                                59 of
                                                                   of 156
                                                                      102




252
636
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 87
                                                                60 of
                                                                   of 156
                                                                      102




253
637
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 88
                                                                61 of
                                                                   of 156
                                                                      102




254
638
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 89
                                                                62 of
                                                                   of 156
                                                                      102




255
639
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 90
                                                                63 of
                                                                   of 156
                                                                      102




256
640
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 91
                                                                64 of
                                                                   of 156
                                                                      102




257
641
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 92
                                                                65 of
                                                                   of 156
                                                                      102




258
642
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 93
                                                                66 of
                                                                   of 156
                                                                      102




259
643
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 94
                                                                67 of
                                                                   of 156
                                                                      102




260
644
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 95
                                                                68 of
                                                                   of 156
                                                                      102




261
645
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 96
                                                                69 of
                                                                   of 156
                                                                      102




262
646
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 97
                                                                70 of
                                                                   of 156
                                                                      102




263
647
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 98
                                                                71 of
                                                                   of 156
                                                                      102




264
648
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-2
                                      392-3 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 99
                                                                72 of
                                                                   of 156
                                                                      102




265
649
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page100 of 102
                                                                  73 of 156




266
650
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page101 of 102
                                                                  74 of 156




267
651
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page102 of 102
                                                                  75 of 156




268
652
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page103 of 102
                                                                  76 of 156




269
653
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page104 of 102
                                                                  77 of 156




270
654
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page105 of 102
                                                                  78 of 156




271
655
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page106 of 102
                                                                  79 of 156




272
656
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page107 of 102
                                                                  80 of 156




273
657
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page108 of 102
                                                                  81 of 156




274
658
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page109 of 102
                                                                  82 of 156




275
659
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page110 of 102
                                                                  83 of 156




276
660
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page111 of 102
                                                                  84 of 156




277
661
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page112 of 102
                                                                  85 of 156




278
662
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page113 of 102
                                                                  86 of 156




279
663
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page114 of 102
                                                                  87 of 156




280
664
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page115 of 102
                                                                  88 of 156




281
665
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page116 of 102
                                                                  89 of 156




282
666
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page117 of 102
                                                                  90 of 156




283
667
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page118 of 102
                                                                  91 of 156




284
668
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page119 of 102
                                                                  92 of 156




285
669
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page120 of 102
                                                                  93 of 156




286
670
      Case
      Case 2:10-cv-01823-JLR
           2:10-cv-01823-JLR Document
                             Document 392-3
                                      230-2 Filed
                                             Filed08/27/12
                                                   03/30/12 Page
                                                             Page121 of 102
                                                                  94 of 156




287
671
      Case 2:10-cv-01823-JLR Document 392-3 Filed 08/27/12 Page 122 of 156




                            EXHIBIT 16




288
      Case 2:10-cv-01823-JLR
        Case  2:10-cv-01823-JLRDocument 392-3
                                 Document 255 Filed
                                               Filed08/27/12
                                                     04/09/12 Page
                                                               Page123
                                                                    2 ofof35
                                                                           156




289
      Case 2:10-cv-01823-JLR
        Case  2:10-cv-01823-JLRDocument 392-3
                                 Document 255 Filed
                                               Filed08/27/12
                                                     04/09/12 Page
                                                               Page124
                                                                    3 ofof35
                                                                           156




290
      Case 2:10-cv-01823-JLR
        Case  2:10-cv-01823-JLRDocument 392-3
                                 Document 255 Filed
                                               Filed08/27/12
                                                     04/09/12 Page
                                                               Page125
                                                                    4 ofof35
                                                                           156




291
      Case 2:10-cv-01823-JLR
        Case  2:10-cv-01823-JLRDocument 392-3
                                 Document 255 Filed
                                               Filed08/27/12
                                                     04/09/12 Page
                                                               Page126
                                                                    5 ofof35
                                                                           156




292
      Case 2:10-cv-01823-JLR
        Case  2:10-cv-01823-JLRDocument 392-3
                                 Document 255 Filed
                                               Filed08/27/12
                                                     04/09/12 Page
                                                               Page127
                                                                    6 ofof35
                                                                           156




293
      Case 2:10-cv-01823-JLR
        Case  2:10-cv-01823-JLRDocument 392-3
                                 Document 255 Filed
                                               Filed08/27/12
                                                     04/09/12 Page
                                                               Page128
                                                                    7 ofof35
                                                                           156




294
      Case 2:10-cv-01823-JLR
        Case  2:10-cv-01823-JLRDocument 392-3
                                 Document 255 Filed
                                               Filed08/27/12
                                                     04/09/12 Page
                                                               Page129
                                                                    8 ofof35
                                                                           156




295
      Case 2:10-cv-01823-JLR
        Case  2:10-cv-01823-JLRDocument 392-3
                                 Document 255 Filed
                                               Filed08/27/12
                                                     04/09/12 Page
                                                               Page130
                                                                    9 ofof35
                                                                           156




296
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page131  of35
                                                                 10 of  156




297
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page132  of35
                                                                 11 of  156




298
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page133  of35
                                                                 12 of  156




299
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page134  of35
                                                                 13 of  156




300
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page135  of35
                                                                 14 of  156




301
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page136  of35
                                                                 15 of  156




302
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page137  of35
                                                                 16 of  156




303
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page138  of35
                                                                 17 of  156




304
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page139  of35
                                                                 18 of  156




305
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page140  of35
                                                                 19 of  156




306
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page141  of35
                                                                 20 of  156




307
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page142  of35
                                                                 21 of  156




308
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page143  of35
                                                                 22 of  156




309
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page144  of35
                                                                 23 of  156




310
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page145  of35
                                                                 24 of  156




311
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page146  of35
                                                                 25 of  156




312
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page147  of35
                                                                 26 of  156




313
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
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                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page148  of35
                                                                 27 of  156




314
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page149  of35
                                                                 28 of  156




315
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page150  of35
                                                                 29 of  156




316
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page151  of35
                                                                 30 of  156




317
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page152  of35
                                                                 31 of  156




318
      Case
       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page153  of35
                                                                 32 of  156




319
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       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page154  of35
                                                                 33 of  156




320
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       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page155  of35
                                                                 34 of  156




321
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       Case2:10-cv-01823-JLR
             2:10-cv-01823-JLRDocument
                               Document392-3
                                         255 Filed
                                             Filed08/27/12
                                                   04/09/12 Page
                                                            Page156  of35
                                                                 35 of  156




322
